Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 1of 39 Page ID #:3226

EXHIBIT 1
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 2 of 39 Page ID #:3227

DE WITT W. CLINTON, County Counsel
PHILIP H. HICKOK, Principal Deputy
County Counsel
648 Hall of Administration

 

 

 

 

 

 

 

 

    

3] Los Angeles, CA 90012 nis
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Attorneys for Defendants Sherman Block, ne
5]} et al., ' |
> JUN 6 1985
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es OC “@For THE CENTRAL DISTRICT OF CALIFORNIA
oy = ™
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DENNIS ~WITHERFORD, HAROLD TAYLOR, ) NO. CV 75-4111-WPG
12|| and RICHARD ORR, et al., ) :
ccunfh SP ) JOINT STIPULATION TO"
13 Plaintiffs, ) DISMISS PENDING ACTION; -
eT ) ORDER DISMISSING - ©
“yall vs. os 3 ACTION oO
45 |) SHERMAN BLOCK, et al., )
de oO oo )
“ref. .. . Defendants. :

 

 

It is hereby stipulated by and between the parties to this

 

action through their respective counsel that this action may be

dismissed without prejudice by the Court.

 

 

 

20
21 The basis for this stipulation is that the issues set
20 forth in the Pre Trial Conference Order on Health Issues are not
23 sufficient to invoke jurisdiction of this court under 42 U.S.C.
24 Section 1983 because the health care presently being provided to
25 plaintiffs meets or exceeds Federal ConPUirittoret—stendandc
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28 . Docketea&

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' Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page3 of 39 Page ID #:3228

In support of this Stipulation, the parties attach copies
of the County of Los Angeles's applications for health care
licensure submitted to the State of California and pertinent
portions of the County of Los Angeles's 1985-86 Proposed County
Budget which indicates an additional $1,000,000 to be allocated
for nurse staffing within the Sheriff's Department Custodial

Division,

DATE: May Al (ASS ACLU FOUNDAPION OF SO. CALIFORNIA
“By: ob & ey 4

wpe for Plagntiffs

DATE: May A ig¢s DE WITT \ eo.

1h. HICKOK, Principal
j ty County Counsel
Attorneys for Defendants

 
    

 

   

. ORDER
~The: ‘Court: having received the Joint “Stipulation to Dismiss
the Pending Action and concurring with the reasons stated
therein,
IT IS HEREBY ORDERED that this action be dismissed in its
entirety as to all remaining causes of action and as to all named

defendants,

DATED: C/celF&s ! / Yad
WILLTAM P. GRAY” Rag
Senior District Court Judge

 
, +, «Case 2:75-cv-04111-DDP . Document 252-1 Filed 11/22/10 Page’ 4 of 39. Page 1D #:3229

DECLARATION OF SERVICE BY MAIL

STATE OF CALIFORNIA, County of Los Angeles : ot
CHRISTINA RODAS

 

states: I am and at all times herein mentioned have
_ been a. citizen of the United States and a resident of the County. of Los Arigeles, over the age of
‘eightecn years and not a party to nor interested in ‘the ‘within action: that, my. business address is
648 Hall of Administration, City of Los Angeles, County of. Los Angeles, State of California;

That on teal th, day of . June 2 , 19 85, I served the attached

 

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- by depositing | a copy thereof, enclosed in a sealed envelope with postage thereon fully prepaid, in a-

United States mail box i in Los Angeles, California, addressed as follows:

oo

Mr. Solin H. Hagar, Jr.
Attorney. At: Law.

- 444 Lincoln Boulevard; Ste. 319.
Marina:Del Rey, CA 90291

and that the person on whom said service was made has his office 4 4 Place where there is a delivery
service by United States mail, and that there is a regular communication by mail between the place of
Mailing and the place so addressed.

{ declare under penalty of perjury that the foregoing is tree and correct.

_ Los Angeles, California
Dated: Jame 4,1985

 
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 5of 39 Page ID #:3230

EXHIBIT 2
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Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 6 of 39 Page ID #:3231

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| DENNIS RUTHERFORD, HAROLD TAYLOR,
JACK JONES and WILLIAM ROBLES, on

similarly sPtuated,

A/C fld 12/31/75

and RICHARD ORR, GREGORY ARMSTRONG,

behalf of themselves and all others

CAUSE

Department,

eee JR. NuMBcR |x. “6yo* “EAM MS 1°. oo, fos is OTHER ee toomm dye numeer
4972 2) 7514111 [r2lo9 75 13-550 11 Wet | 7314 75, 4111-wee
a PLAINTIFFS DEFENDANTS . ,

PETER J. PITCHESS, as Sheriff’ $f
the County of Los Angeles,’ -
WILLIAM ANTHONY, as Assistant
Sheriff of the County of Las
Angeles, JOHN KNOX, as Chiey of ©
the Corrections Division of the
Los Angeles County Sheriff's
JAMES WHITE, as
Commander of the Los Angeles
County Central Jail, and EDWARD
EDELMAN, KENNETH HAHN, JAMES
HAYES, PETER SCHABARUM and
BAXTER. WARD, as Supervisors of
the County of Los Angeles,

Complt violin of C/R

 

 

 

 

ATTORNEYS

John H. Larson, Coumty Counsel

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UNPEED STATES

Terry Smerling
1980 South Vermont Ave Frederick R. Bennett, Deputy
LiAd,2/6A 2OG075¢ . County Counsel
732- 6153 3 ‘648 Hall of Admin
Assocting JefireysKincheloe 500 W. Temple Street
& Howard; Stratves L.A., Ga 90012 0 2. uw yp oe
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EXHIBIT 2

 
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 7 of 39 ._Page ID #:3232

 

 

 

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aid

CV75-4111-WPG (BB/ Dennis Rutherford, et al vs Peter Pitchess, ef al -.
DATE NR, PROCEEDINGS .
PAGE - 2
12/9/75, san Fld compit. Issd summs.
Fld note & ORD of ref to gen Ord 104-D naming Magistrate Penne,
Fid note ef pendency of substantially identical case.
Fid req & ORD for serv of process by other than the USM naming Terry
Smerling.
12/31; 754ed Fld pltfs' AMENDED COMPLAINT.
1/2/76 |sam Fld defts Ist set of. interxogs propounded to pitts.
1/7/76 mr |Fld retn of summs, serv'd Margaret Carrell, "Peter Schabarum, James Hayes, Kenneth
. Hahn, Edward Edelman, James White, John Knox, William Anthony & Peter J. Pitchas¢
jmx -|Fid pltfs" proof of serv, serv'd A/C & note &*ord of reference.
1-16-74 mn| Fld ORD(WPG) vacating reference-to U.S. Magistrate James J. Penne
, All proceedings will now be heard before Judge William P. Gray.
Notified attnys,
jmy Fld O5C & TRO re why a prelim injunc should not be issued, retble
2/2/76 at 2PM. .
jmyFld plitfs' appl for TRO & OSC re prelin Injunc. Memo of P.A & affid of
‘Richard ORR, Dennis Rutherford & Terry Smerling in support thereof
1/21/76 /4mr| Fid pltfs' note of motn for certification of class action, retble 2/39/
at LOAM. Memo of P/A in support. Affids of Dennis Rutherford, Haro
Taylor, Richard Orr, Gregory Armstrong, Jack Jones & Terry Smerlin
ia SUPport. ‘ oo see -
1/23/76 lw| Fld defts' ANSWER to A/C.
1/28/76 | lw | Fld plefs' req for production.
1/29/76; jmy Fld pltfs' Ist set of interrogs.
1/30/76 |jmr| Fld Stip & ORD that pltf Orr shall be transferred to Hall of Justice
Jail; transfer shall not vender pltf Orr's claims moot; PIt£'s
OSC shall be taken ‘off cal.
2/9/76 Ymr}Fld defts' response & partial object ta req for production.
ljmr j}Fld Stip & ORD cont hrg on pltfs* motn Er certification of class actio1
to 3/1/76 at 10AM. :
{mr|Fld defts' proof ofserv, served cpy of defts response & part object to
req for production. . . :
2/17/76 |mz |Fld DEPOSITION of Richard Orr-tkn: on: 1/21/76
. imr|Fld pltf Richard Orr's ans to lst set of interrogs .
ime |Fld pltf Harold Taylor's ans to ist set of interrogs.
jimr} Fld defts' memo of P/A in oppos to notc o3f motn for certification of
class action..
2/23/76 |jmr|Fld defts’ lst set of interrogs.
2/25/76 Hmr|Fld pltf Dennis Rutherford's ans to lst set of interrogs.
3/1/76 | rl | Fld pltfs’ 2nd set of interrogs propounded to defts.
3/4/76 jed|Fld defts' ans to pltfs' lst set of interrogs.
*3/1/76) jmy MIN ORD: Hrge pltf's motn for certification of class. ORD certify class
into 2 sub-classes. Cnsl for pltf directed to subm formal ord.

 

 

 

 

 

 

 
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‘cry
] PLAINTIFF DEFENDANT
— DacKeET No. 75-4311 WPG
DENNIS RUTHERFORD, et al PETER PITCHESS, et al PAGE 3 of PAGES
DATE NR. ‘PROCEEDINGS
3/19/76 |jmr Fld pltfs' notc of motn & motn for ord graning pltfs4 investigators access to
. prisoners;retble 4/5/76 at 10AM. Memo of P/A & affids of David Jackson &
Terry Semrling in support. .
3/23/76 | jmr Fld ORD certifing class action & req distribution of notc to the.class.
jmr |Fld defts' response to pltfs' 2nd set of interrogs to defts.
3/25/76 | jmr {Fld pitf Gregory Armstrong's ans to Ist ser of interrogs.
jmr {Fld plefs' 3rd set of interrogs.
* 3/26/76 | jmr |Fld pltf Jack Jones’ ans to lst set of interrogs.
4/2/76 ime ‘Fld pltfs' notc of motn & motn for lv to file 2nd A/C; retble 4/19/76 at 10AM.
: Memo of P/A & affid of Terry Smerling in support & proposed 2nd A/C.
ymr [LODGED pltfs' proposed 2nd A/C.
4/6/76 ji jmr [LODGED defts' proposed ord re disclosure of contact with absent membera of the class.
#4/5/76 jmr jFid affid of Isaac Powell.in support of motn for pitfs’ investigators access to
prisoners.
4/7/76 | jmr Fld defts' oppos to motn for ord granting pltfs' investigators access to ) atty Tm.
qjmy {Fld defts' statmt of contentions re investigators use of atty rm.
4/8/76 |4me [Fld Affid of Craig Close in support of motn for investigators’ access to prisoners.
jmr !Fld pitis' reply to defts' oppos to motn for ord granting pitfs' investigators access
to prisoners. .
4/12/76 | jed MIN ORD: Motn pltfs for access by investigators to jail: ORD GRANTING.
4/13/76 | jed {Fld defts' memo of hrg.
4/12/76 |jed {Fld ORDER re disclosure of contact with absent members of the class.
4/14/74 jcd/Fld Stip and ORD cont'g pltfs' motn for ord granting pltfs'
invetigators access to prisoners to 4/12/76 at 10:00 a.m.
4/19/76 rl | Fld pltfs' 4th set of inkerrogs propounded to defts,
Fld pltfs' suppl memo of hrg.
5/11/76 | rl |Fld defts' 2nd set of interrogs propounded to defts,
5/14/76 | rl) | Fld defts' response to pltfs' 4th set of interrogs.
45/14/76 | rl | Fld pltfs' ex parte appl-& Ord for lv to file 2nd amended complt, memo of P/A &
' affid of Terry Smerl~ing in supp thereof, . _. 0
Fld pltfs" ona AMENDED COMPLAINT FOR DECLARATORY & INJUNCTIVE RELIEF,
5/21/76 yi | Fld pitfs' req & ORD for serve of process by other than the U.S. Marshal, naming
David Jackson.
5/25/76 | rl Fld pltfs! 5
1 piers proof of sérvc, served ex parte’ appl for lv to file 2nd amended complt
ot» (4-4
L t/- v & DO-1t3A (Flew. 1/75)

Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 8 of 39 Page ID #:3233°

kL DOCKET CONTINUATION SHEEY

 

 

 

 

 

 

 

 

 

 
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 9of39 Page ID#:3234 _

 

 

 

 

 

page 3
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF ° DEFENDANT " — .
pocket no, _/97#111_ WRG
DENNIS RUTHERFORD, HAROLD TAYLOR PETER J. PITCHES et al , ~ °
: PAGE OF _ PAGES
DATE NA. . / ‘PROCEEDINGS

 

6/14/76] gb |Fld pltfs 5th set of interrogs

. 4 Fld pltf's 2nd req for production of docs.
6/16/76 gb | Fld pltfs' responses to defts' 2nd set of interrogs.
6/21/76 | gb Fld pltfs' 6th set of interrogs

7/1/76 jxlb |Fld plifs' 3rd reqst: for prod of docs.
Fld pltfs' 7th set of interrogs to defts.

7/6/76 |rlb | Fld defts' ANSWER to 2nd A/C,

7/7/76 |eb Fid defts' ams to pltfs' 5th set of interrogs.
6/30/76 | gb Fld defts'. response to pitfs' 3rd set of interrogs propounded to defts.

“T/I3/76 gb Fld Stip & ORD conti hrng on pltf's motn to disms counterclaim.

7/29/76] gb] FLd 1lttr for pltf Rutherford withdrawing from suit,

7/30/76} rp ‘Fld defts' response & partial obj to pltfs' 3rd reqst for prdetn of docs.

8/6/76 | gb |Fid defts' ams to pltfs' 7th set of interrogs propounded to deft.
. Fld pitis' 4th req for prod of docs.

8/9/76 | eb Fld pltfs' 5th req for pred of docs.

8/11/76 gb Fld pltfs' 1st set of req for admission & 8th set of interrogs propounded to deft.

9/3/76 gb ;F1ld defts' answers to pltfs'. Ist of req for admission & 8 sat of interx propounded [to

deft. . .
Fld defts’ ans to pltfs' 6th set of interr propounded to defts.

9/1/76 gb |Fld defts' response & partial obj to pltfs'’ 5th req for production of docs.

9/3/76 gb | Fid defts"’ response to 4th req for prod of docs,
10/1/76 gb |Fld pltfs' response to 3rd set of -interr propounded to pltt by deft.

“10/8/76 }- gb {Fld defts' supplemental ans to pltf's first req for admission & eight set of interr
propounded to defts. :

10/21/76 gb IFid Defts' notc of motns for. ord compelling fur and to 4th set of interr to 11/29/7
: at 11/29/76 & for ord pursuant to FRCP 26(e) (3). °

*9/24/76 | gb- Fid:defts' 3rd set of interr propounded to pltf's by defts.
10/6/76 gb Fld defts' supplemental responses to pltfs' Sth req for prod of docs.
10/27/76) sam [Fld defes supp'i ans to pltfs' 6th set of interrogs.

11/23/76 ° gb Fld stip & ORD that pltfs shall file a supplmnt ans to 3rd set of interr propounded
, to them by defts setting forth all info therin req and not previously

disclosed -at least thirty dys before the hrng on PTC.

 

 

 

 

 
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 10 of 39 Page ID #:3235

~OCEMIL DOCKET CONTINUATION. SHEET -

 

 

 

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT
DOCKET NO. 75-4111-WPG
' DENNIS RUTHERFORD, et al PETER J, PITCHES, et al . ao ,
PAGE _«) OF PAGES
DATE NR PROCEEDINGS
12/22/76 gb |Fld pitfis' ninth set of interr propounded to defts.
1/18/77 | br |Fld defts’ resp to 9th set of interrogs.
2/1/77 br Fid pltfs' note of motn for partial S/J or in the alternative for prelim inj, retnbte
2/22/77, LOAM.
Fid pltfs' memo of P/A in supp of motn for partial s/J or prelim inj.
Fld affids of Daniel Alesi, Mark Bowden, Timothy Curtiz, Carl Duckett, Steve Fabrica&nt
Earle Henderson, Piogquinto Hernandez, Theodore Jamex, Ricky Lepore, Raymond Mack
Joe Pettis, Aaron Robinson, Alfred Smith, Mitchell Wong & Terry Smerling in supj
of motn for partial $/J & prelim inj.
LODGED pltfis' prop findgs of fact & concis of law.
LODGED pltfs' prop partial S/J.
2/2/77 |ja Fld plefs' extract of defts' ans to Ist & 3rd sets of interrogs.
2/9/77 ja Fld defts' stmt of oppos to plrfsi motn for S/J
ja | Fld defts" stmt of genuine issus necessary to be litigatd as required by local rule
3(g).
2/15/77 | ja | Fld pltfs' amended note of motn for partl summary judgment and/or prelim injun;
. retble; 2/28/77, 2:00pm.
2/23/77 | ja jFld pltfs' 2nd amended note of motn & morn retble 3/14/77,10am for consolidatn.
2/23/77 | ja |Fld affids of Salvador Ariaz, Everett Brumfield, Willie Burnett, Desi Burns, Lannie
Bennett, Robert Caldwell, James Harper, Jessie Jolly, William Long, Lloyd Sarjcho.
Derrick Shepherd, Michael Staten, Robert Vance & Ricky Waltrip - In supprt of
motn for parc'l S/J &/or prelim injun. ,
ja {Fld pltfs 2nd amended note of motn & motn for part'1 S/J &/or prelim injun retble
3/14/77 ,10am.
2/24/77 | ja | Fld defts' memo of P/A in oppos to motn for S/J, prelim inj etc.
| 2/25/77 .ja Fld affids of Anthony, Welch, Lonergan, Robbins, Holt, Toomajian, Robinson, Austin
Bemmett, Storing, Mellugzo, Rupprecht, Contraras, Pageler, Case, Mendibles, Mord
Garrison, Aguilar, Cota, Bartholomew, Swain, Webb, Watts, & McKovick in oppas
to motn for prelim injun & $/J.
3/14/77| ja |MIN ORD: Urg sep moths pitfs for part'l 8/J or in alt for prelim injun & for
consolidatn & ORD denying. Fur ORD set for p/t{CV¥ 75-4111) 6/6/77,1l0am
3/17/77] ja | Fld Stip & ORD cont hrg on motn to dism 2nd amended counterclain retble: &/25/77,1
4/22/77 | nm Fld Pitfs' change of address of Pltfs' lead cnsl & assoe of ensl. New address
Terry Smerling A.C.L.U. Foundation of S. Calif, 633 5. Shatto Place, L.A.
487-1720 & associating David Jackson as co-cnsl,
4/29/77 | sam | Fld defts interrogs to pltfs.
5/6/77 |ja Fld pltfs' memo of contentns of fact & law on custodial issus.
ja Fld pitfs' 6th request for producnt of docs.
ja Fld plifs' lst suppl responses to 3rd set of interrogs to pltfs by defts.
Oa. Po & DC-119A (Rey. 1/75) J

 
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 11 of 39 Page ID #:3236

CIVIL DOCKET CONTINUATION SHEET

 

 

 

 

 

 

 

 

 

see page

PLAINTIFF DEFENDANT . ~ 1.
- DOCKET NO. “75-41 17-WPG(P).
dennis rutherford et al peter j. pitchess, et al ‘ SO -f
PAGE 6 oF PAGES
DATE NR. PROCEEDINGS
5/11/77 | ja { Fld defts' 6th set of interrogs to pltfs by defts- _
5/12/7H% ja | Fld pltfs' 10th set of interrogs propounded to defts.
5/13/74 ja-| Fld pltfs' 7th request for productn of docs.
ja | Fld pltf's note of motn & motn retble 6/6/77,10am for ord compelng produce of docs |&
‘affid of Terry Smerling & memo.of P/A in supprt.
ja Fld pltfs' 2nd set of regeusts for adm & llth set of interrogs propounded to deftq.
5/17/77 ja Fld pitfs’ 2nd suppl respons to 3rd set of int;errogs propounded to pitis by deftr
5/20/77 | mz Fld pitfs' 3rd suppl responses to 3rd set of interrogs propounded to pitfs by :
defts, .
Fld plefs' note of mtn & mtn for protective ord re defts' 6th set of interrogs
retble 6/6/77, 10am, & affid of Terry Smerling & memo of P/A in supp. ,
5/23/77| mz | Fld defts' response to 6th req for prodctn of docs.
(5/24/77| mz | Fld Stip & ORD that the PTC be contd te 6/20/77, 10am.
5/25/77] mz Fld defts' memo of P/A in oppos to mtn fo rord compellng prodectn of docs & affid
ef Frederick R. Bennett. .
5/31/77 ja Fid pitfs' 4th supplmatl respons to 3rd set of interxogs to pltfs by deftrs.
6/2/77 | om Fld Defts' memo of contentions of Fact & Law.
*6/2/77| nm | Fld Pltfs' note of motn & motn, retble 6/20/77 lOam, for Ord compelg prod of docs
& affid of Tarry Smerling & memo of P/A in suppt.
nn | Fld Defts’ response to Pltfs' 2nd setef req for adms & llth set of interrogs to
. , defts. -
nm | Fld Defts' supplmt to memo of Contentions of Law/Fact.
mt | Fid Pltfs' note of motn & motn,retble 6/20/77 for certification of class action.
a memo of P/A & affid of Terry’Smerling in suppt..
nm Fld Pltfs' 5th suppl responses to 3rd set of. interrogs to Pltfs.
nm Flf Stip & ORD re Pltfs' motn for Protective Ord & tkng motn off cal.
6/6/77 |nm | MIN ORD: Hrg on motn-of Pltfs to compel prod of cos & ORD stand submitted. -
6/7/77 na | Fld Defts'’ 7th set of interrogs to Pltfs..
6/14/77 |nm | LODGED Peoposed PTC Order. oo
nl Fld Defts' oppos to Plrfs' motn for Ord comeig prod of docs. :
Fld Defts’ affid of Frederick R. Bennett in opposition to req to modify Court's
Ord bifurcating trial of Medical issues.
46/17/77 ¢ nm Fld Defts' P/A in oppos to Pltfs' motn for clarification of deft class.
6/20/77 | nm MIN ORD: ORD cont to. 6/22/77 10am for nrg on sep motns of Pltf to compel ete & fdr
: P/T. .
“On

 

 

 
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| CIVIL SOCKET CONTINUATION SHEET

 

 

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT
ee . pocket No! 22: -4111-WPG
DENNIS RUTHERFORD, ET AL PETER J. PTICHESS, ET AL PAGE or PAGES
DATE NR. PROCEEDINGS
6/20/77 | nm | Fld Pltfs' ans to 6th set of interrogs to Pitfs.
: Fld Pelfs' 9th req for prod of docs.
Fld Pltfs’ 6th suppl response to: 3rd set of interrogs by defts.
Fld Ptlfs' 7th suppk responses to 3rd set of interrogs from defts.
Fld Pitfs' note of tkng oral depos of Walter Lumpkin on 7/11/77 10am.
6/22/77 mm Fld Defts’ response to 10th set of interrogs.
6/27/77 4jk| Fld pltf eighth suppl resp to. 3rd set of interrogs to pltfs by defta
6427/77 ct | MIN. ORD: Hrg mtn pltfs to comepl & ord Grantg. ORD Denyg pltfé ‘mtn for certif of
class. Cnsl deft Dir subm formal ORD. Crt siens p/t ord. ORD set for Erial
8/2/77, 10am.
F/S/77 ck Fld Pltfs Ex Parte applic for ORD permittg depos by Electronic Means, & Memo of P
: & Affid of Terry Smerling in supp. Rtble 7/12/77, 9am.
LODGED Pitfs Proposed ord permittg depos by Electronie means.
7/7/77 | ct | Fld Defts Statmnt of additnl Exbts.
. ‘Fld Defts P/A & affid of Frederick R. Bennett in OPPos: to mtn for ORD permittg
depositions by Electronic Means,
LODGED Defts Proposed ORD.
Ti5/77 & Fld Pltfs Nee of ORal Bepso of Bill Powel, Joe Holmes, David Barker, Robert Reo,
Robert Costa, ‘Alexander Lapa, Charles Pellman, Mike Stoganov & Ann Diggs, 7/18/7
46/27/72 ot) Fld Plte PTC ORD
7/11/77| ct | Fld Defts Response to 8th Req for prdctn of docs.
* 6/23/74 vib] Fld défts' stmt of addtnl exhibits.
5/26/77 | rlb| Fld pltfs' 8th rqst for prod of docs.
7/8/77 ltm Fld deft's resp to 7th req for production of documents.
7/15/77 | tm |Pld deft's resp to 9th req for production of documents.

“17/19/77 | tm |Fld ORD: defts may, not refuse ta produce records; pltf£'s atty is ord not to use
names or infor obtained thru dise in this case for any purpose other
than this case. :

7/21/77 | tm |Fld deft's statement of additional exhbts.
_| 7/22/77) tm |Fld.deft's statement of additional exhbts.
7/25/77] tm |Fld pltf's 9th supplemental resps to 3rd set of interrogs propounded to pitfs by
defts.
Fld pltfi's 10th supplemental resps to defts 3rd set of interrogs.
Fld pitf's contentions: re defts'’ exhbts.
-N . ee
. dic a 4 bezy
. / : OC-111A (Rev. 1/751

 

 

 
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CIVIL DOCKET CONTINUATION SHEET

 

PLAINTIFF

DENNIS RUTHERFORD, ET AL PETER J. PITCHESS, ET AL”

DEFENDANT

 

pace 8 of PAGES

 

pocket No. 75-4121

 

DATE

NR.

PROCEEDINGS

 

7/25/77

7/28/77
8/2/77

“B/4/77

8/8/77

8.5.77

8/10/77

8/11/77

8/12/77

‘8/18/77
B/LB/TF

8/23/77

8/25/77
8/30/77
8/31/79

 

 

- tn

Fld Stip & ORD that affids submitted at the hrng or prelim injunc may be admitted
into evidence as the direct testimony of the affiant in lieu of direct

req to examine the affiant orally & such person is not available, such

ja Fld defts' supplmntl designation of exbts.

ja

ja

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ja:
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Ga

MIN ORD: c/T(ist day): Ct convenes 10am, coun make open stmts. Paul Myron is czt
pltf. Pltf exbts 1,2,3, & deft exbts A to DY incl adm. Pltf exbr 4 mkd, Crt

& ORD cont for fur trial to 8/3/77,9:30an.

ORD: fur ert trial (2nd day): wit Paul Myron resumes testi; mkd & adm exbts; -
“matr cont to 8/4/77, 9:30am for fur trial.

MIN

Fld DEPOSITION of David Wesley. Barker tkn on 7/18/77; Joseph Edgar Holmes Ii tkn

Jan Reo tkn on 7/19/77.
Fld DEPOSITION of Nolan Bermard Lyons, Jr. thm on 1/20/77; Gerald A. Boswell tkn

ert ORD matr cont to 8/5/77,llam for fur trial.

Jeffrey Thomas & Robert Costa are est for pltf. ORD cont for fur trial to
8/11/77,9:30am.

MIN ORD: C/T 6th Day: Wit Costa resumes: deft exbts EB1l-4 adm. ‘Daniel R. Barachman

est for pltf. With Barachman resumes. John Reynold Sis cst for pltf. Charles

Pellman is cst for pltf. With Reynolds resumes. Barbara jSchnck is cst for pltf.
ORC cont to 8/12/77,9:30am for fur tiral.

to 8/23/77; 9:30am, .
Fld pltfs' contentions re: derfts' exbts cv ‘through dx, inclusive.

Fld pltfs' writ of H/C ad testificandum: retble 8/23/77, 9:30am & ORD.
MIN ORD: C/T 8th day: case cont to 8/30/77,9:30am.

Fid DEPOSITIONS of Walter R. Lumpkin tkn on 741/77.

MIN ORD: C/T(9th day): case cont to. 8/31/77,9:30am.

DENIED: FUR ORD that defts' motn to dism as-to defts Holt, Robins, Zanzler; def
to dism as to the County Board of Supervisors; defts' motm to dism issu of cont.

visits are Henied; FUR ORD jdgmt for defts on the issue of legal mail is grutd.

 

testimony. Any party may call the affiant to cross-examine. Shd any party

affid will not be admitted into evidence in lieu of oral direct testimony

recess 11:55am & reconvenes 2pm. Wit Myorn resumes, Pltf exbts 5,7 adm & 6mkd, os
crt recess 3:15pm & reconvenes at 3:30pm. Wit Myron resumes. crt adjourns 4:3q”

MIN ORD:C/T (4th-day) crt convenes llam; Max Kurkow is cat for pltf. Wit Vyla htf
sworm resumes. Crt recess 12 noon & recenvenes 2pm; Wit Vila resumes. Pitf}exh 12
adm; crt recess 3: 10pm & reconvenes 3: 40pm, wit Vila tesumes, Nick Talagan ,
e st for pltf. Crt adjourns 4:20pm & ORD cont to 8/10/77,9:30am for fur ttial.
MIN ORD: Fur Trial 5th day: Bobby Creek, W.L. Pierce, Patrick Sweeney are cst for] pltf

MIN ORD: C/T 7th day: Wit Schenck resums: James Johnson is cst for pltf; Wit Johnsa
resumes. David Contreras is cat for’ pltf. Wit. Contreras resums; crt ORD fur triafl

MIN ORD: ert trial lOth day: ORD that defts motn to dism as to defts James Austiny
Leroy Johnson, Boswell, Hendershot, Cinderelli, Crawford, Fehrn, Gayheart, Samanjego is

Hor

art ORD -

qa 7/18

77; Billy Ray Powell tkn on 7/19/77; Robert John Costa tkn on 7/19/77; & Robeut

qn

7/20/77; Charles P. Pellman tkn on 7/20/77; & Jeffery Alan Thomas tkn on 7/24/77.

MIN ORD: C/T (3rd day):. wits Pal Myron completes - testi. Wits Walter Howell, Jame
Jack Robbins and Brian-Byla are called, sworn & testi for pltf. Mkd & adm exb

- White
Cs. :

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m

 

ta’ motr
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swore wits & mkd exbts; ORD matr cont to. 9/1/77,9:30am for fur ort trial. Sae 237

 
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- PLAINTIFF CEFENDANT :
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DENNIS RUTHERFORD ET AL PETER PITCHESS ET AL
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’ BATE NR. | - PROCEEDINGS

 

9/2/77 | da | MIN ORD: ert trial lith day: case cont to 9/2/77,1Lam,

9/2/77) x1b}] MIN ORD: C/T 12th dy: Case Ord contd to 9/13/77 at 9:30am.

pltf's

9/13/77) tm Fld/writ of H/C ad testificandum that John Reynolds appear ‘yefore Judge Gray
pltf's on 8/11/77, 9:30AM. : .
9/20/77 tm | Fld/writ of H/C ad testificandum that LeBaron Matthews & Jon Lewis appear before
Judge Gray on 9/21/77, 200PM. -

~ $*9/13/771 tm | Fld deft ‘s writ of H/C ad testificandum that Jeff Miller is to appear before

Judge Gray on 8/23/77, 9:30AM.

Fld pitf's retn of writ of H/C re Mike Grant. Srvd L.A. County Sheriff on 8/19/77,

Fld pltf's retn of writ of H/C ad testifiecandum re Jim Messina. Srvd. L.A. County ft

Sheriff on 8/19/77.' ,

Fld pltf's retn of writ of H/C ad testificandum re > Billy Hart. Syrvd L.A. County
Sheriff on 8/19/77. -

‘MIN ORD: Fur Trial (13th day). Deft's exhbts EN, EO admitted. Various wits CST,

Crt adjourns 4:30PM & Ord cont for fur trial to 9/14/77, 9:30AM.

MIN ORD: Fur trial (14th day). Various wits CST. Crt adjourns 4:20PM & ORd cont to

, 9/15/77, 9;30am for fur trial.

9/21/77 [ ja {MIN ORD: C/T 15th day Swore wits & mkd exbts. Matr cont to 9/22/77, 9:30am for fur.
c/T.
9/22/77| ja |MIN ORD: C/T Fur trial 16th day: LeBaron Matthews is cst in rebuttal. Lonergan is
1 est for defts, Deft exbts adm. & pltfs exbt is adm ORD adm interrogs 270 271
& cert deposns. ORD ert trial cont to 9/23/77,9:30am.
9/23/77 ja {MEN ORD: C/T fur trial 17th day: ct mks tentative findings: ORD std subm on flg
. . of birefs 30X30X10.
AO/21/77 1 Ga Fld ORD: writ of H/C ad testificandum: 9/22/77,9:30a, LeBaron Matthews; Stanley
. Fowler; & Michsel Thornton be produced in crt as wits in this case
9/21/77 | ja | Fld ORD: writ of 4/C ad testificandum: 9/22/77 9: 30am Michael Thornton be produced

in ert as wit in this case.
ja | Fld ORD: writ of H/C ad testi 9/22/77,9:30am LeBaron Matthews be produced in ert

as wit in this case,
ja | Fld ORD: writ of H/C ad testi 9/22/77,9:30am Stanley Fowler be produced in ert
. as wit in this case.
9/20/77 | ja | Fld ORD: writ of H/C ad testi 9/21/77 2pm Lebaron Matthews & Jon Lewis be produced
, in crt as wit in this case.

10/31/47 ja Fld pltfs' post trial brief.
ja| Fld pltfs' appendices to pltfs’ post trial brief. _

 

 

12/5/77.. rlb  Fid defts’ post trial brief. .
, | Fld defts’ attachments to post trial brief.

“—2/15/77 | xr1b Fld pltfs' post trial reply brief.
Fld appendices to pltfs' post trial reply brief,

3/21/78 | ja |Fld deft's note of mtn& motn retble 3/22/78,2pm for ord limiting capacity at jail;
affids & memo of P/A in supprt/

ja jFld defts ex parte motn & ORD’ shortening ti on defts motn for’ interim ord limiting
capacity at jail affids in supprt to 3/22/78, 2pm.

3/22/78 | ja MIN ORD: Hrg on motn defts for ord limiting capacity at jail & ORD cont for fur

- hag to 4/3/78, 2pm, BO SARS SR

 

 

 

 

 
Case 2:75-cv-04111-DDP

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CIVIL DOCKET CONTINUATION SHEET

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PLAINTIFF DEFENDANT :
oocKeT no. 757 4L.—we,
. DENNIS RUTHERFORD ET AL PETER PITCHESS _
page 10 o¢ PAGES
DATE NR. PROCEEDINGS

3/22/78 |. ja: | Fid ex parte app & ORD: for leav to file memo as amicur curiae in oppos to motn for ord

limiting capacity at jail; affid & exbts retble 3/22/78,2pm.

4/3/78 ja | Fid City of L.A. supplement memo amicus curiae in oppos to motn for ord limiting capacity
at jail.

4/3/78 ja | MIN ORD: For fur: hrg on deft! « motn for ord in re of jail capacity & GRD go off call.

6/2/78 aj Fld pltf ntc of mtn to reopen case to tk addtnl testimony and declrtn of T. Smerlinpg

& memo of P/A in supprt tereof retble 6-19-78, l0a.m. . :

6/9/78 {aj ld deft's oppos to mtn to reopen case to mk addtl testnmy; memo P/A.

5/30/78 |aj Fld rtn sums on 2nd A/C,(no proof of serv attached).

6/19/78 aj | MIN ORD: hrng mtn pltfs to reopen to take addntl terstmy & ord denyng.

7/25/78 | aj Fld MEMORANDUM OF DECESION(WPG) ; a judgment will be /held pnding hrng schedule fpr

. ‘ 8/14/78, 2pm. .

8/11/78 | aj Fld defts summry of oral mtn to be m@d 8/14/78 re crt memo decision..

8/14/78 { aj |MIN ORD: Final judgment; crt Ord matr cont .for 8/28/78, 2pm for fur predngs.

8/23/78 | aj i Fld defts utc of mtn & mtn for inclusion ef certn provisions in crts ord; wemo of PYA

in suprt; rtble 9/18/78, 10am. - ,
Fld defts retn to certs memo decision; summary of progress & ti req for implementation;
req for reconsidrtn or a stay pnding appeal concerning certn issues,
8/24/78 | aj jFld defts ntc of mtn & mtn for reconsidertn & alterntv for stay pending appeal; memp

of P/A in suprt rtble 9/18/78, 10am.

\F1ld defts ex parte mtn for ord shrtening ti on defts men; affid of F.R. Bennett
so said mtn may be heard on 8/28/78, 2pm/

}Fld defts affid of Tom Lnergan in suprt’of mtn for rjconsidertn.

8/28/78 | aj [Fld pltfs assoc of cnsl, to include J. Kincheloe & H. Strauss.

8/28/78 | aj MIN ORD: hrnog- on mtn for-recnsderation, mtn to stay predngs pnding appeal, for final
jdgmt; ert Ord the stay pening appeal of crtn matrs (iel) contact visits 2) |°
window replacements Granted; fur Ord this matr set for fur hrng re the facilities
on 10/17/78 at” 2pm; cnsl are to exchnge List of wits & exhb nlt 2 wks before hrng.

8/31/78} aj | Fld defts ntc of mtn & mtn for protectv ord; memo of P/A & affid of F.R. Bennett in

guprt , rtble 9/18/78, lOam. . .
9/8/78 |aj (Fld defts ntc ofmtn & mtn ‘for prtl S/J; P/A in suprt; exhbts; rtble 9/25/78, 10am.
LODGED defts propsd findgs. of fact & conclsns of law. :
LODGED defts propsd judgmt - .
9/11/78 |aj {jFld stip & ORD resefrting cettn mtus previously cal for 9/18/78, to 9/25/78, 10am.
SEE PAGE TL

 
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PLAINTIFF DEFENDANT
Loe , /DOCKET NO. 75 4144 tgp
DENNIS RUTHERFORD ‘ET AL PETER PITCHESS pace 11 o¢ PAGES
DATE NA, PROCEEDINGS
9/11/78 aj Fld plef’s atc ofmtn for ord reqring positng of nte to plirf class & memo cf P/A
& declrtn of Terry Smerling in suprt rtble 9/25/78, lOam.
Fld plef's nte ofmtn for ord granting pltfs inverstigators access to prisoners
& memo of P/A, declrtns of Terzy Smerling & Jeff Kinichle & exhbts in sprt
rtble 9/25/78, 10am. .
Fld defts response to mtn for ord granting pltfs investigators use of the attr room.
9/12/78 | aj Fld defts response & oppos to pltfs mtn to supp nte to the class, etc.
9/15/78 | aj |Fld defts extracts fr 1st set of interrogs to pltfs Rutherford, Taylor & Orr in supprct
. of defts mtn for $/J; in issue.
Fld defts supp affids & exhbts in suprt of mtn for $/J.
9/19/78 | aj Fld piltfs supp memo of P/A & declrtn of Terry Smerling in oppos to defts- mtn for
prtl s/i. .
9/20/78 aj Fld pltfs declr&m of Terry Smerling &. memo of P/A in oppos to defts utn for prel.
$/J & mtn for protectv ord. ~
9/25/78 taj MIN ORD: hrng mtn defts for partl $/J & Ord cont to 11/13/78, 10am for fur hrneg;
fur Ord grntg mtn defts for protecrv ord, ete.
LO/1i/78 aj Fld defts stmt of reasons for noncompliance w/ert memo decision.
10/13/78 aj MIN ORD: evidentiary hrng on issue of jail searches: M. Lombardi is cst for defts;
defts exhbts A,Badm. --: 7
10/25/78 aj | Fld pltfs declrtns of Dennis Rutherford, Gregoxy Armstrong, Richard ort, Sheldon
Greenfield, Terry -Kupers, Barbara Schenck, William Albert, Lonnie Allison,
Camilo Cano Candila, Ira Johnson,Derek Kelly, Mike McIntyre, Steven 3B Muna,
John M Neilly, Juan Ornelas, Richard Redroza, Stanley Pete, Matias Rodriquez
Michael, E. Ruppel, Anthony Russo, Ronald Schraiber, Gordon Simmons, Virgil
Smith, Robert J. Stuhr, Robert E Williams, _Jakeie Wilson, in oppe to defts
mtn for prtl 8/J.
10/25/78] aj Fid pltfs 2nd supp memo of P/A in oppos to defts mtn for prtl S/J.
Eid pltfs declrtn of Terry Smerling in oppos to defts mtn for prtl ‘S/J.
Fld pltfs stmt of genuine issues.
10/30/7883 "Tela pltés exhbts to decirtn of Terry Smerling in _Oppos to defts mtn for prti $/J.
11/3/78 | aj {Fld pltfs exhbt A to declrtn of Sheldon Greenfield in oppos to defts mtn for. prtl
S/J.
11/8/78)|° aj Fld defts oppos to pltfs declrtns, exhbts & P/A re 9/J.
8/7 ; ,
11/8/78 | aj MEN ORD: Evidentiary hrng(lst day on contact visits, etc), William. ¢ Nagel ts cst
or pitf,Armett Gaston is cst for defts, pltf ehxbt. 1, 2 adm, 3 adm, deft
exhbt A Adm, cont: for fur hreng on 11/9/78, Sam. . —
Fid defts supp P/A in suprt of defts mtnfor S/J.
DC-1114 (Rev. 1/75)

 

 
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF | DEFENDANT

 

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DATE NR. . PROCEEDINGS

 

11/9/78 | aj |MIN ORD: crt 2nd day, Michael Cassaro is cst fotdefts, deft exhbt 3B,C,D, mkd & B ade, .
Thomas Lonergan is cst fordefts, deft ehxbt E,F, adm, deft exhht D adm,
Donald Yerin is est for defes, crt ord cont of hrng to 11/10/78, 9:30am.
11/10/79 aj } MIN ORD: fur hrg, 3rd day, Lloyd Patterson is cst. for pltfs, exhht 4 adm, George
Su-mer is cst for defts, deft ehbt G adm, Terry FKupers is cst for pltfs,
deft ehbts H-M incl adm, Ord std subm upon flng briefs, 2wkskwwksXlwk.

11/15/78 aj {Fld pltfs reply to defts supp memo of P/A in suprt of mtn for prtl 3/J.
Fld pitfs 2nd supp declrtn of Terry Smerling in oppos to defts mtn for prtl S/J.

11/17/78 aj Fld defts nte of mtn for apprvl of defts propsl-re telephone serv; & in alterntv
for stay pending appeal, rtble 12/4/78, 10am.

11/20/78 aj | MIN ORD: fur hrng on defts mtnfor S/J & Ord denying, Ord set for P/T -(on issue of
. medical practce) 4/16/79, 10am. : . .

41/27/78} aj | Fld defts opening brief on contact visits, roof security screen, windows & searcheb.

11/28/78 aj Fld pltfs respnse to mtn for apprvl of defts propsl re telephone serv.

12/4/78 | at. MIN ORD: hmg in re telephne serv or in alt for stay pending appeal & ord cont to
. 12/11/78, lOam for fur hrng.

12/7/78 | aj | Fld pltfs supp wemo of P/A re telephone compromise.

12/8/78 | aj Fld defts amended plan for telephones.

12/11/78] aj Fld pitfs exhbt 5 to pltfs respndng brief re contact visitation, cell searches,
windows & roof recreatin area.

Fld pltfs respndng brief re contact wisitatin, cell searches, windows & roof rec ayea.

12/11/78 aj | MIN oRD: hrng in re tel svce at jail & ord grtg props apprvd by stip, coun. defts
dir subm frml ord.

12/13/78 lb {Fld deft's suppl brief re contact visits, searches.-

12/18/78] aj Fld defts ex parte applern for ext of ti to fi deft's reply brief: declrtn of Fred~:
erick R Bennett & ORD to 12/22/78. .

12/20/73) aj Fld defts reply brief re contact visitation, cell searches, windows, & roof of sec Bcreen.

12/21/78..aj ‘| Fld pltf's declrtn of Terry Smerling in respnse to defts-supp brief re contact
visits, searches, etc. .

1/2/79 aj LODGED defts propsd opinion & ord re telephones.
1/5/79 lb Fld plté? s note of oral depo of DR. R. “Schock, B. Norman & K,. Baggett on 1/24/79.

Fld defc’s findngs & ORD re: ‘telephones, signature of j3¢.. does. mot imply authorship
if foregoing which was prepared by cnsl for ert approval & adoptn.

 

 

 

 

 
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“PLAINTIFF DEFENDANT
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DENNIS RUTHERFORD et al., PETER PITCHESS
PAGE __130F PAGES
DATE NR. , . PROCEEDINGS
1/18/79 pg |Fld memo to ensl re fur hrg on 1/29/79, 2pm.
1/29/74 pg Fld defts netc of & motn for suspension of protns of inj pendg appeal;
declara & memo pf P&A in suppt thereof, retnbl 2/26/79,10am.
1/26/79 cm Fld note of mtn fr ord emping inspectn of docs w/ declaratn of T.
Smerling & memo of P/A, retnble 2/5/79.
1/29/79 em |Fld dft's ex parte mtn fr ord shrtng ti retnble 2/5/79, 2PM.
a 2/1/79 em|Fld pltf's oppos to mtn fr suspnsn of portns of inj pndng appeal.
2/2/79 em |Fld pltf's note of oral depos of Dr. Donald Verin, Ronald Klein & Sat, Dave
Buliis 2/14/79 thru 2/16/79.
2/5/79 cm |MIN ORD: Grantng dft's mtn to suspnd portns of inj pndng appeal. dfts to submit
prop ord modgyng ecrt's ord, pltf's mtn to cmpl grantd w/protctve ord.
- 2/8/79 cm} Fld dft's note of mtn fr ORD setng stat conf retnble 2/26/79, 10AM.
2/8/79 — em|LODGED dft's proposed ord re stay.
1 2/14/79 em {LODGED dft's proposed modificatn of jdgmnt.
2/14/79; cm | Fld pltfi's ex parte appl & ORD(WPG) that pltf's mtn fr ord determing scope of isstes
pendng trial wil be hrd on 2/20/79, 10AM. ‘
Fld pitf's ntoc of mtn fr determinatino of scope retnble 2/20/79, 104M,
2/15/79] em! Fld Jdgmnt (WPG)re conditions fr inmates of LvA. Coun typesleatet Z{16/79).cpy to
: parties. pit! s to recover costs of actn. “3
2/16/79) cmjFld dft's note of appeal ta USCA, 9th circuit, frm jdgmnt ent 2/16/79.
: Fld dft's note of payng $250. aa cash -bond on appeal, depositd $250. in the reg
of the crt.
2/15/79 | cm |Fld suplmmtl memo of decision (WPG).
2/15/79 cm | Fld | ORD (NPG) that during dft's appeal provisions of paragraphs 2(b) & 5 are suspen
, pur to FRCP §2(c) on certain conditions; reqst fr suspension of provisns
of paragraph $ denied, execpt that provisions of 7? shallle suspended for
a period of 30 dys to permit dfts to seek a stay of provisions.
(ENT 2/16/79) mld note of ent toa prties.
2/16/79} cm |Fld dft's design of record on appeal.
| 2/20/79  cm|MIN ORD: Hrg in re pltf£ mtn to empl] & ard gring in re visit cf MD's to certain
. : jail areas,
2/15 /78 om | Fld dft'’s oppos to mtn emping inspctn of jail.
2/26/79 .| cm |Fld pltf's bill of costs retnble 3/5/79, 10AM.

 

 
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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF , DEFENDANT

 

 

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3/5/79 em |Taxd costs in amnt of $402.75 agnst dfts,

3/5/79 em jFld pitf's designatn of addtnl docs to be transmted,

3/9/79 {ged Fld plrfs' Note Of motn and motn for award of atty fees and axpert
wits fees, retbl on 3/26/79, 10a.m. wt memo of P/A and declaration
of Terry Smerling. :

3/13/79 cm |¥Fid plté's declaratn of G. Slaff.
Fid pitf's declaratn of B. Berman.
Fld dfts' ex parte appl & ORD(WPG) ext ti fr. transmssn of recrd on appeal.

3/14/79 em |Fld pltf's ex parte appl & ORD (WPG) allwng pltf's to defend appeal in F/P; pltf's
shal be provided w/a free copy of transcrpt, ,

3/22/79 lb | Fld Stip & ORD cont pltf's mot for attys fees to 4/23/79 lOAM.

43/19/79| cd [Fla CC frm USCA for the 9th Cir of Ord that the provisions of 18 of
the Dist Crt'’s jfudgmnt re céll searches,heretofore temporary
suspended by the Dist Crt,shall remain suspended thru 3/30/79
or until fur ord of this ert,whichever oeceurs first.

3/28/79

7,

ct |Fld Defts ORD cont'g PTC to. 6/11/79, 2pm.
Fld Defts Ex parte Appletn for Ord cont'g PTC, Decirtn of Philip H. Hickok.

4/4/79 |jed Recv'd. CC of Ord that Appellants’ motn for a stay pendng appeal of
: . 18 of the injunctien is allowed. . ,
‘Fld defts' memo of P/A in oppos to motn for attys fees.
4/5/79 |jed Fld defts' declaration and attachmnts in oppos to motn for atty's feed.
4-17-79 lf [Fld deft's rpt to ert regardng outdoor recreatm as roq ty jdme
Fld plef's req for judicial note of Beverly Hills Bar Assoc 1978 compenstn & benefits
survey
4-23-79, 1f |MIN ORD: bre 1 motn of pltfs for atty fees & costs & ORD award _atty fees in amt
: _ $90,000; ensl to submittd formal ord

5-10-79} dg. LODGED dfts | Propsd jdemnt for costs & attys fees

4/30/79 fb |- Fld orig & 1 cpy of Reptr'! s transc of predgs “had on -

8/2/77 Vol 1, 8/3/77 Vol 2, 8/4/77 Vol 3, 8/5/77 Vol 4, 8/10/77

vol 5... .

8/11/77 Vol 6, 8/12/77. Vol 7, 8/23/77 Vol 8, 8/30/77 Vol 9;

8/31/77 VOl 10, 9/1/77 Vol 11.

9/2/77 Vol 12, 9/13/77 Vol 13, 9/14/77 Vol 14, 9/21/77 Vol i5.,

9/22/77 Vol 16, 9/23/77 Vol 17, 9/28/78 Vol 18, 10/13/78 Vol 19,

11/8/78 VoL 20, 11/9/78 Vol 21, 11/10/78 Vol 22.

5~18-79 ig Fld pltfs note of mot for ord requiring postingvof note ta pltf class, ttnble
6~11~79, lOam. memo of P/A'& declaratn of Terry | Smerling in supp

5-24-79 | dg Fld pltfs memo of contentions of F/L

dg Fld ex parte appl & ORD requiring posting of note to pltf class, memo of P/A
& declaratn of Terry Smerling in supp thereof

 

 

 

 

See Pao 1S

 
Case 2:75-cv-04111-DDP Document 252-1

 

 

 

 

 

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CIVIL DOCKET CONTINUATION SHEET

Filed 11/22/10

 

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT : .
pocket no. 757413 4-18
: PAGE 15 OF PAGES
‘DENNIS RUTHERFORD PETER J. i. PETCHESS, ET AL : :
DATE NR. . PROCEEDINGS
5-25-79) dg | Fld jodenot & & ORD that qudemne be awarded pltfs their costs of 2367.75 & attys
fees.of 90,000,00, payable directly. to American Civil Liberties Union:
Foundation of So, Calif, (Ent 5-29-79} mld cpys to prctys, notifi prtya.
5-25-79 } dg |Fld dfts note of mot & mot for reconsideration & or vacation of judgmnt:
stay of judgant for attys f-es, rtnble 6-11-79, 10am, memo of P/A in, supp
dg Fld dfts nema of contentions of EA
5-31-79 | dg Fld pltfs note tk off cal. mot for ord. requiring pasting of note to pltt class _
61-79 | dg |Fld pltfs oppos to mot for reconsideration & or Nacation of judgunt & stay of
judmnt, declartatn in supp
|, 5-79 € LODGED pltfs proped PTC ord
64-79 |dg Fld dfts supplnmtl memo of P/A in supp. /af mot for. modi ficatn of inj
76-79" dg Fld dfts stmt of L. A. Superior Crt Presiding, Judge Richard Schauer in supp of .
dfts mot for reconsideration
6-7+79 | & Fld plefs:reply to dfts supplmntl memo of P/A in supp of mot? for. modificatn
. of inj
6-8-79 dg Fld dfts supplmtl memo of P/A in SUPP of mbt for ‘reconsideration
6-11+79 | dg | Fld PTC ORD on health issues
6-11-79, dg |MIN ORD: dfrs mot for reconsideration. & stay & ORD granting pending fur ord of
Cre, P/t on itsasue of medieal; Crr signs P/T ord, trial set for 9=11-79, l0am
6-15-79 | dg | Fld dfts report re processing for court as required by suppluntl meno decision
6-2279 | lw |Pld deft's NOTC GF APPEAL to 9th Cir Court of Appeals frm jdgmt
antered 5-29-79. $5.00 fldng. fee pd.
6-25-79 gll|Fld defts"' note. of. flg $250, cash undertaking in dieu of bond on
appeazl. Deposited $250. g0 into ragietry of ert, .
7-2-79 | dg - Fld picfs note of oral depos of Dennis G. Amundson on 7-9-73, 2pm-
Fu5e79 | dg [Fld dfts DESIGNATION of reporters transeript
7-30-79 pli|Fld note of cont om crt’s own motn of pitfs wotn fr award of atty fees, expert
. fees, the costs & the motn fr ord grnting plitfs' invescigarors access to atry -
‘ room to be hrd on 8+20-79, 20am.
*7-27-79 glliFld plefa’ note of motn fr ord granting pitts? investigators access to atty mi
memo P&A, decl of Terry Smerling; exhbts; retohl 8-13-79, 10am,
| 8-32-79 | pll Fld defts'- ex parte: applic & ORD(F fr WPG) ext ti to file certif of record ‘on
/ appeal to 9=15-79,
8=10-79| gil | Fid defts'’ memo_of P&A in-oppos to motn fr ord" granting plefs dnvestigators access
, to atty room; decls.
Fld defts'’ suppl desig of non-rebutcal witnesses: & expert witnesses.
8-22-79! 911] Fld pltfs" suppl decl of Terry Smerling in oupe of motn fr ord granting pltfs’
investigators access to atty rm.
8-23-79 | ell | Fld pltfa' note of tke depos of Stephen Edward Smith on 8-30-79, 2pm.
9-5-79 kp [ Fld defts’ note of mot & Mot for ord contg triai retnbl 9- 10- ~79, LOAM,
Fld pltf's declrtn of Terry Smeriling in reply to defts? oppatn to mot for ord.
grote plef's access to arty room.
DG-141A tRev, 1/75)

 

 

 

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xu. -th DOCKET CONTINUATION SHEET

 

 

 

 

 

 

410/24/79; fb -

8-13-80. cg

 

 

12-6-79 } yd
i~B-80 yd
5-9-80 lf
5-22-80) eg
5-22-80| 1f
5-22-80 it
5-22-80 cg
5-30-80 cg
6-5-80 fez
6-13-80 ce
7-1-80 cg
7-17-80 cg
7-21-80 cg

PLAINTIFF DEFENDANT / - a
DOCKET NO.Z5={A4221.4pq-:
DENNIS RUTHERFORD ET AL PETER J. PITCHESS PASE pp OF ~-—— PAGES
DATE “NR. PROCEEDINGS ,
9-7-79 if Fld pitf's declar of Terry Smerling in oppos to mton for ord cont trial
. Fld deft's applic for ext of ti to file certif that the red on appeal is ready
9-10-79) 1£ [MIN ORD: pltf's motn for ord gerantng pltfs' tnvestigtrs access to atty rm is
DENTED; trial on medical iss is cont to 10-9-79, 9:30AM
10/22/79inmm Fid DEPOSITION of Dermis G. Ammdson taken 7/9/79 at 2:00 p.m.

----Fld orig of Reptr's transe of predgs had on 4/23/79.
Fld appellancs'’ designatn of Clrk's recrd (fle w/opening brief)

Fld pltfs' designatn of docs to be transmittd to C/A

Fld plt£'s note af mm for partl reopeng of case & for modifictn of jdmt and mem
of P&A & declar in supp rtnbl 5-27-80, LOAM

_ LODGED prop Ord to show cause re-contmpt of Judemt .

Fld ptlfs applic for issuance of OSC re-contmpt of Judgmt

Fld proof of sery. of applic for OSC re contmpt
Fld deft’s addtl declar in oppos to pltfs mtn

Fld deft's declar & oppos to mtn for reopeng case etc.
Fld deft's memo of P&A & declar in oppos Co mtn for reopeng case ete.

MIN ORD: pltfs motn for parital reopeng is grntd, ensl to jointly prd
a list of issues concerning which fur hrg should be had & re-issuancd
of a OSC re- conpmt,matter cont to 7-21-80 at 2pm

Fld pltfs OSC -re-cnmpt of judmt,to 7-21-80 at 2pm ,pltf shall subm ta

each of his wits & specific infor conecerng such testi,inclu the date
& place at which alleged violation occured

Fld pltfs declar of T.Smerling in suppt of applic for OSC re-cnptp

jail & inmate reception center,for ird shortng ti on motn to compel
inspection & for ord compellng of central jail & inmate reception
etr & declar of T.Smerling & memo of P/A in suppt -

Fld defts declar of Ed Smith in oppos to applic for OSC

Fld pltfs note of motn for ord compel lng prod of docs & declar of
T.Smerling & memo of P/A in suppt

MIN ORD:-crt hears oral arg,pltfs mot to compel is grntd in prt &
denied in prt c
Fld pltfs applic for issuance of OSC re contmpt of.ord of 1-5-79,
governing inmate access to telephones

Fld OSC re entpt of judgmt-rtnble on 9-2-80 at 10am why he shld not.

be hid in Chptpt of ert-as stated w/in this ord

defense cnsl,lidys bf the hrg , his cnsls declar,containg the name of:

Fld -pltfs applic for issuance of OSC: re-cnpmt of judmt,paragraphs 1 &

Fld pltfs stip purs tolocal rule re-pltfs mot to compel prod of docg ~

pose

Fld pltfis applic for ,ord shortng ti on req for inspection of central] .

 

 

See 4 6%, Vs

 
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CIVIL DOCKET CONTINUATION SHEET : . FRI-MAR
f PLAINTIFF DEFENDANT 75-4111-weea |
DOCKET NO. ___ Od
DENNIS RUTHERFORD ET AL PETER J.PITCHESS . PAGEL? oF PAGES
DATE NR. PROCEEDINGS

 

8-26-80

§-26-80

19/4/80

 

 

cs

cg

*8-22-B0 cg

8-28-80 cg
8-29-80 cg

9/2/80 | jed

jed

49/3/80 | jed

9/2/80 | jed
9/3/80 jed
9/5/80 | jcd
9-17-80) Lf
9-25-80 | 1¢£
9-26-B0cg
10-18-80} kt
10-20-80 ce

Fld pltfis applic for ord ext ti toa sve OSC & suppt papers & declar
t.Smeriing in suppt
LODGED- pltfs ord ext for sve of Osc

Fld pltfs writ of H/C ad testificandum on.9-2-80 at 9:30am
Fid pitfs writ of H/C ad testificandum on ¥-3- 80 at 9:30am
Fld pltfs writ of H/C ad testificandum on 9- an 8U at ¥:3Uam

Fld pltfs ex parte epplic forwrits of H/C ad testificandum & declar
of T.Smerling & memo of P/A

Fld ORD tht £i is-ext for ‘sve of OSC to 8-22- 80

Fid pitfs supple applic forwrits of H/C ad testificadum & declar o£
Terry smerling

Fld pitfs ex parte applic for ord relieving pltf fr prepayment of
Marshal's fees & declar of Terry Smer Ling & memo of P/A

Fid pltfs writ ofH/C ad testificandum on’ ¥-2-80 at 9:30am

Fid pltfs writ of H/C ad testificandum on 9-3~-80 at 9:30am

Fla ORD waiving prepayment of Marshal tees ofseveral Co. jail prisoners.
as stated w/in this ord oo

Fld defts' memo of p/a re contempt procdgs.
Recv'd cc of judgmmt frm 9th CC remmding judgmnt.

MIN ORD: Hrg re OSC re Contempt (2nd day) ‘Sw wits amd makrd exhbts cont'd to .
g/4for, 9: 30a. m . for fur hrg. .

MIN ORD: fire re OSC re Contwmpt (lst day) Deft rks opening statement. Sw wits
and mrkd exhbts. Cont'd to 9/3/80,9:30a.m. for fir hrg.

‘MIN ORD: Hrg re OSC re contempt. Sw wits and marked exhbts. Cont'd to 9/4/80, 10a jm.
for fur org. .

MIN ORD: Fur hrg re OSC re Contempt. Sw wits and mrkd exhbts. Mttr cont'd for fur
hrg upon notification by the ert. . ,

Fld pltfs writ of H/C ad testificandun

Fld defts note of mtm for ord to exonerate & release cost deposit, declar of.
Frederick R. Bennett rimbl 10-20-80, LOAM
LODGED defts prop ord exoneratng & releasng cash deposits:

Fld note of hrg on filing & Spreading judgmt of C/A (civil) on hrg
for 10- 20- 80 at loam

Fid ORD that 2 cash deposits ‘of $250 in- lieu of bond for costs on appeal
wf vepgard to 2? appeals in this act, (3061 & 3367) are exonerated &

ORD released to defts ©

MIN ORD: Mandate fr C/A remanding is ord fld and Spread upon the

recds of this crt,defts mot to exonerate ‘ relaese bond is grntd

ert signs ord

Fid ORD exonerating & releasing ‘cash deposits of $250. 00 inleiu of

bond for costs on. appeal fld w/regd to the two appeals in this actn
(# 3061 & 3367) are exon & ord released to the defts”

 

 

Dy a ym.
we Oo CPPS GPOC-ILIA Rev. c/75)

 
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CIVIL DOCKET CONTINUATION SHEET . * SPAR uo
PLAINTIFF OEFENDANT

 

Docker ne /274 Qh. WEG

 

 

DENNIS RUTHERFORD ET AL PETER J. PITCHESS . . PAGE _LS>F____ PAGES’

DATE NR, | PROCEEDINGS

 

 

10-27-80 ba Per Order of Court, disbursed the sum of $500. 00- to Peter J. Pitchess, et al
a/c Order dtd 10-20~80.

11-4-80 cg |Fld -Ex parte Applic & ORD th the trial of the Health Issues is cont

to 3-10-81 at 10am :

11-17-80cg LODGED-pitfs prop findngs of fact & concl of law re-judmt for costs
& stys fees”

11-21-80 og Fld defts obits t prop findgs req for addtl findgs & req for are

11-25-40cg [MIN ORD: J.$.Bryan CST mrk wxbhits matte ° ‘cont. for fur. hre upon
notification to ensl by the crt
1-23-81) cg Fld memo to cnsl hre on 2-24-81 9:30am

2/18/81] +ziFld defts comments to crt's memo decision re attys fees

2/24/81 rz|MIN ORD: The word "not*' is ORD stricken fm page 3 line 24 of memo
. of decision. Furthr hrg held re OSC re prelim inj. Sw witsn
& marked exhbts. Mattr cont to 2/25/81, 9:30AM fr furth hreg
rz | MIN ORD: Furthr hre re OSC re contempt. Sw witns & mrked exhbts .
- Mattr cont to 2/26/81, 9:30AM fr furthr hrg oO

2/26/81. rz|MIN ORD: Sw witus & mkd exhbs. Pltf rests. Pltf to subm memo
by 3/16/81; deft may resp by mot & supptng docs & memo by
3/30/81. Pltf shall subm proposd logs re witns Chikahisa.

2/27/8L!\ rz Fld pltfs ex parte ‘applies ORD(WPG) that the trial of the health
issiis cont to 10/6/81, LOAM; declara of Terry Smerling in suppt
thereof

13/23/81] vz (Fld pltfs brief summarizng evidenc. re contempt
rz | Fld pltf£s memo of p/a, declara of Terry Smerling & exhbs in opp
- to modificatn of jgmt fr costs & attys fees

 

4/13/81 LZ Fld defts reply brief re contempt
rz | Fld defts reply memo of Pla concerning attys fees

4/22/81] rlb Fid.crt's memorandum of Decision.

“Fld ORD that cnsl for plfs is awarded $90,000.00 for srvices in this action throulfh
4/23/79, along w/cost & out of pocket expenses in amnt of $2,367.75,
for a total sum of $92,367.75; jdgmt for such sum be ént in his fv &
agnst_ the defts. (Ent 4/23/81 m/epys & ntfd -prtys)

4~23-81 yd [ Fld memo to ens (Judge Gray)

4-28-8] lw |Fld defts' NOTC OF APPEAL to 9th Cir C/A frm Jdgmt ent 4-23- 81
| $70.00. fldng §& docket fees pd.

4~28-81 yd Fld pitfs note of motn “for awatd of suppl atty's fees & memo of P&As &
: 1. declaratn of Terry Smerling in suppt, retnmbl 5-18-81, LOAM

4-29-81 yd | Fld defts note of motn & motn for stay pending appeal retnbl ' 5-18-81, 104M;
. nemo of PéAs in suppt thereof

 

 

 

 

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Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 24 of 39 Page ID #:3249

CIVIL ‘DOCKET CONTINUATION. SHEET - FPL-MAR

 

 

 

 

 

 

 

 

 

_ E PLAINTIFF DEFENDANT .
. poceet wo. (2-41.11 WPG
23 : CA
DENNIS RB? “HERFORD ET AL PETER PITCHESS, ET AL :
. PAGEQ__OF PAGES
DATE NR. PROCEEDINGS
°5+8-81 sb {Fld memo of P/fa in opp to motn for award of supplemental atty fees
5-11-81 sb Fld pltf's ‘opp to motn for stay pending appeal
Fld pltf£'s reply to deft's opp to motn for award of supplemental atty|
fees & declar of Terry Smerling
5-14+-8l sb MIN ORD: fur hrg re contempt to 5-15-81 9:30am x-eaxm of William
Rosensteel cont to 2-18-81 Liam
5-15-81 sb |MIN ORD: Fur hrg re contempt cont to 5-18-81 Llam
5/18/81 -rlb |} Fld Crt's MEMORANDUM OF DECISION. (Ent 5/20/81) M/cpys & ntfd preys) ©
: Fld JUDGMENT reaffirming judgment entered 2/15/79 & ORD thereon. (Ent 5/20/81
m/cpys & ntfd prtys)

5-18-81] . sb "MIN ORD: crt grants motn for award of supplemental atty fees. ert :
grants fee's $5,000.00 pltf's toprepare ord & findings & crt .
will sign prop opinion & ord & grant deft motn for stay
pending appeal. crt hear fur matter re contempt proceed

| on 5-22-81 9am

5-26-81 sb |LGDGED PROP Ord staying ord pending appeal

5-22-81) sb MIN ORD: Fur. contempt proceeding crt fing deft' sin good faith ert
finds effort enhanced contempt actn. Pltf to submit ‘fur

. . brief deft's need not resp unless the crt.so req
.15/29/81/fb |Fld defts NOTCE OF APPEAL to the 8th Cir. C/A fr Jdgmnt ent on
5/20/81.
Fid defts design of reptr' s transc on appeal.
5-28-81, sb Fld Ord staying ord pending appeal
' 6-4-81 sb|Fld pltf's memo of P/A in suppt of appointmtnt of montior
Fld pltf's note of motn & motn for award of supplemental atty fees &]-
_|for serv performed on merites & memo of P.A & declar of Smerling in
suppt thereof retble 8-10-81. 10am
6-11-81|sb Fld memo of P/A in opp topltf's motn for supllemtal atty fees
p-16-81 5b ‘fld deft's obj to prop findings & req for additional.findings; req for hrg
‘16/18/8L | dv | LODGED pltfs' prop ord for sppl atty fees . :
LODGED plefs' prop findngs of fct & concl of law re ord for suppl. atty fees
+ 6-24=81 | sb Fld pitt’ s teply to memo of P/A in OPP to pltf motn fr supplemtal atty ‘fees
6/25/81]. rlb Fid plis' finds of fact & ‘conel of law re; ord fof suppl atty’ s feeg..-
Fld ORD that Terry Smeriing, cnsl for plfs, is awarded fees in amnt)
of $5,000.00; that jdgmt for such sum will be ent -in Mr.
_ Smerling's fv & agnst defts. (Ent 6/26/81 ntfd prtys m/cpys)
7/6/81 am | Pld deft's NOTC OF APPRAL, to 9th Cir C/A frm fal judgmt ent 6/26/81.
. °§70.00 fing &. docket fees pd.
7/6/81 am jFld deft's desig. of rptr's transcr-
$-7-St_ | am | Fld orig reptr's transe of proc had on S-/F “BL. (etal) .
‘ , : , . DG-I1LA REV. (1/75)

 

 

 
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CIVIL DOCKET CONTINUATION SHEET

 

 

 

 

 

 

. . . FRIAR ‘
PLAINTIFF DEFENDANT 7
DOCKET NO. oye
PAGE 247 OF PAGES
DATE. NR. PROCEEDINGS
8-10-81 | sb

MIN ORD: .pitf’s motn fr an award of supplemtnal atty fees DENIED on the ground that .
it is premature as the pltf has not yet sucessfully resolved his actn inj th
/ US Crt of appeal
f= 2~81 sb MIN ORD: docket shall reflect that the exh used in the contempt proceeding were
, delivered to the’ exh custodian on this, date’ 7-2-81 Fld exh list

 

9-28-41 sb] Fld pltf ex parte applic & Ord (WPG) cone trial ta 10-6-81 delear of Terry Smeriing i
in suppt thereof . .
10-20-81 sb Fld mema of decision regarding contempt
10-30+81 sb Fld pitf note ofmtn fr award of atty fees fr serv rendered in contenpt. modifactioh ©
proceeding memo of P/A- & declar of Terry Smerling in suppt thereof
retble 11-23-81 10am :
li-17-8] sb

Fld deft meo of P/A in OPP to motn fr atty fee re contempt proceeding
11-19-86! sb Fld pitt reply to deft opp “co motn fr atty ‘fees & fr serv rendered in contempt
modifaction proceeding 7 delear’ of Terry Smerling

1i-27-8] sb | LODGED ORD FR ATTY FEES FR SERVICE RENDERED IN’ CONTEMPT/MODIFACTION PROCEEDING

“LODGED FINDING OF FACT & CONCL OF LAW RE ORD ATTY FEES FR SERV RENDER IN CONTE
: MODIFACTION PROCEEDING ©

| 11-73-81 - sb MIN ORD: cre awards plrf $5000.00 in fees

 

12-2-81 |sb aLODGED DEFT PROP FINDING OF FACT & CONCL OF LAW RE ORD ATTY FEES IN CONTEMPT
MODICATTION PROCEEDING ~ _-
12-2-81 i sb |Fld deft obj¥ yo plté finding of prop fidning :
12-9-81) sb Fld pltf.obj to deft prop finding of fact & concl of law re atty fees contempt/
modification proceeding .
12-16-81] sb |Fid pltf ORD(WPG) fr arty fees fr setv rendered in contempt/modification proceeding :
‘ in fvr of Mr Smerling in the sum of $55 000 to his employer AGLU Foundation of
Southern Calif. ENT 12-17- -81) .
12-36-8] sb

Fld deft Finding of fact & cocnl of law. re atty fees ia contmpt/modication
‘proceeding. :

Fld plft's NOTC OF APPEAL to the Sth Cir. C/A fr ORD ent on 12/17/81

“J1/21/82] fb
$70. 00 Cik's fee &docket fee paid.

1-22-82 | sb Fld pitf Transcript designation & Ord form

I-De-f)) EN | tt ontg reptes transe of proc had'on 2424/9],

 

2-12-82). yd Fid defts' rpt re compliance w/Crt's ORD

AeA Qu . Fie orig repir's transe of proc had on Weel
2-16-84 yd ‘Pld pitts acknowledgunt of Payment of Crt Ord atty FeByrs RY. C178)

 

 

 

 

 
Case 2:75-cv-C

De 1134
- Rev, 1/75)

04111-DDP Document 252-1 Filed 11/22/10 Page 26 of 39 Page ID #:3251

CIVIL, DOCKRT CONTINUATION SHEET

 

 

 

 

 

 

PLAINTIFF | DEFE! ANT cy 75 Alli
. . DOCKET No, 2
_ |. DENNIS RUTHERFORD ET AL PFTEK PITCHESS ET AL pace 2lor___paces
DATE | NR, . PROCEEDINGS
3-3-82] yd Fld defts rpt to Crt re plans for relievng overcrowding.
5-15-84 ew - Fld orig reptx' s transe of: proc had on 9/2/80 (Vol. 1); 9.3/80
(Wol. 2); 11/5/81 (Vol. 3); 2/24/81 (Vol. 4-A); 2/24/81 (Vol/ 4-A);
2/24/81 (Vol. 4-B); 2/24/81 (Vol/ 4-B); 2/25/81 (Vol. 5-A);
2/25/82 CVYol. 5-B); 2/26/81 (Vol. 6-A); 2/26/81 (Vol. 6-B).
. 2219-82 lw | Fld orig reptr' s transe for proc had on 5- 14- 81, 5-15-81, 5-18-81

63-82 yd

6-22-82) sas

7-16-82 cw

. 8.582 CW,

| 5-82 | thee

 

2/28/83 | am

b/8/83 | ew

Aslp aL! |

-|12-1-83 Fyn

 

 

9/31/82 | gth Fld defts/appellees design of clerk's recrd on appeal

.B/14/83| ew
8/12/83 | am

19-49-43 | vie

and 5-22-81.

Fld Stip & ORD CWE e) re record on appeal in 9th Cirevit C/A
case #82-5071

‘MIN ORD: Mattereset for stat conf 2-14-83 at 2pm. Trl will be reset
at that time. .

Fld appellant's desig of clerk's rec.

Fld appellant's desig of clerk's rec on appeal.

 
     
 

A& ft oo af chk's rae any

Oba pa ey FE oe wis EMI 's ive a

prance Fy acl on 9/2 Yate ue. 3 79) 60; .Mo1 % 11/5/80: Yor 3, 2/24/81; Vol 3, 2/24/81;
of 4-®% 2/24/81; Vol 4-B, “2725/81; ‘Yor S-A, 2/25/81; Vol 5-8, 2//T7: Vol 6,
2/26/81; Vol 6-A, 2/26/818 Vot 6-B, 8/12/77; Vol 7, 8/23/77; Vo! 8, 8/30/77; Vol:
9, 8/31/7735 Vol 10, 9/1/97; Vo! i, 9/2/77; Vol 12, 9/13/77; Vel 13, G/T4/77s

Vor 14, 9/21/77; Voi 15, 9/22/77; Vor 16, 9/23/77, "Yo! 17, 8/28/78; VoT 18, 10/13
74 , Vol 19, 11/8/78; Vol 20, 11/9/78; Vol 21, N/10/995 Vol 22, 5/14/81, 5/15/81
5/18/81, (2 Vols. ) 5/22/81, 11/23/81 and 9/5/80.

    

MIN ORD: _ (WPG} Stat hig. Deft to inquire of ACLU of what they intend to do.
Stat hrng & resedtting tri continued to 3/14/83, 10:00 a.m..

Fld pltfs' note of association of atty..

MIN ORD(WPG) : trag ve resetting trial is cont'd to 12/12/83;
. :00 a.m. Note waived. All inquiries are
to be addressed to John Hager care of the ACLU.

LODGED cpy 9th Cir C/A jgmt affirming in Part é and rey in part. (cA 81+5461).
Nor of) hens Bla “ putin, yp set foe ‘10-B)- 33 © 10 AM

Fid ORD (WPG) that pltfs counsel are awarded attys fees in the amt. of $47, 500.00
payable by the defts to the “ACH. Foundation of. §. Calif... (EXT 12-5- 83)

Mid ‘cpys § Note | of )

 

 

 
Case 2:75-cv-04111-DDP Document 252. 1 Filed A12210 rage 27 of 2 Page ID #:3252

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they. 1/74) : . .
: CIVIL DOCKET “+s ATION SHEET : \ —
PLAINTIFF DEFENDANT . 75-41}
: oe ‘ DOCKET-NO. an LE. a,
DENNIS RUTHERFORD . | SHERMAN BLOCK . boos
. | , PAGE OF _u.. PAGES “@
DATE | NR. PROCEEDINGS . ;

 

 

 

11/29/83 vu App fer acy Yoees re erb's ord of Taflafgsi & apps l therefrom P)fts

12/9/83 Vu Ex parce app & ORD cont inudiy soitus ling & ieiad secting con! to 1/16/84 d

10 a.m.

1/10/54 vu Cre's mote ef cent of stiiis cont co Pf/2e484 ef Po a.m.

t

 

9/2} {83° vu LODGED copy of judwat fem Us. Cre of Appeals Keversed & Reminded | @
10/31/63 wa | Cre ords filing & spread ing, OL qindie stayed paading Supreme Cre rubiug- MOQ
.p-1-84 pe Sats qdte per Ord Frowtey foees-Plti
11+1-84 mn Crt ORD cnsl te show cmuse lt bial 7-84. why case should net be alstusd far Jack of
prose tn Mu
y-29- 35 mix ---+LODGED ORD frm USCA re: Thin matter is remanded w/ instr to the USBC to vacate
tees . ! its ORDs grantng contact visits and requiring observation of cell searches.
4§12-3-B5 | kw STIP & ORD hrng on mec to lbd deft Brad Gates in venpe & Tr ORDS & SANE LONS cone
1~28-85 . :
12/12/84) as | OSC re contempe, by L/28/85, 10 am. Pier
Ex parce apphictn fer O5c in contempl PILE s . .
12/32/84) as MO: Plef ex parte appsictn fer OSC in contempt is GRANTED. Deft Brad Gares OSC

ta Cre on 3/28/85, 10 am whe aeun shld not bald him in contempt.

LE/LD SAS e EPRi obL fi obab peace . .
12/07/84 as Note af cant: of pirt mol te hedd deft in contempt & for further Ords/sanctns,

to 1/14/85, 10- an
. 4118/85 ged Per memo fim Crourm deputy pid JS-S Reoputt :
“fei9-85 of kw | LODGED PROP ARN ptlfs Ses
L1L/isfsss ie memo al under tandi ng ert approvl - erie 1i/la/ee)

6-6-85 sb. Joint stip to dism pending actn & Ord disn actn CENT 6-12-85)
“MD JS. ,6 Mid cpys

ag
poof

Li
8/16/85 ld Rec'd Erm C/A a gh Orig: reports transe & 1 Cldr exhbts-.

 

“6/12/85! te | Supplmntl brief of BIN,

1/30786 lé © joint stat reprt. pitis

“15/5/56 pe joint slat report. @
3/24 /86| le joint stat repert , :

 

 

§/19786le ORD re arty Pees; pleist mtn far aLty feos fo $24,573.25 is grantd.

 

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Stifp a UHD apppesb the popu bain potais wild ds daily populaten joy far: cu
ar .

 

 

 
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. CIVIL DOCKET GONTINUATION SHEET
PLAINTIFF DEFENDANT
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DATE e PROCEEDINGS

“11-7+86| - am| Stat rept. defts

hi-7-86 am stat. prept. pltft
11-12-86 am] ORD geanting pltf motn for atty fees in the amt of $9703.00 .

11-12-86 am{ Stat conf; crt instructs pltf to contact crf if jail conditions req further ord of
the crt. Cet & ensl discuss atty fees. Ord re atty fees fld this dated. M.O.

3-16-87] am | Stat rept. pltf
, Stat rept. deft

4-22-87| am { Stip- re atty fess. pltfs

430-87 am | ORD tht pltts appl for atty fees in the amt of $15,705.50 is hereby granted,
6-22-8%- am! Interim stat rept. ptlfs.

*6- 1l- 87 am | ORD tht pltfs reqst » for acty£ fees in amt of $9800.00 is hereby granted.
7~6-87 am | |Stat rept of deft County of L.A. . defts

7-29-87 | am Stip & ORD tht ptlfs esnl & one ACLU Summer intern.will hv aceess at the Central

. Jail to the following docms for Inspection purposed only. Pltfs cnsl & the summer
interwill not copy these docms. Further, they shall not discuss these docms w/any
ptys w/o obtaining prior crt approval. A Jail Medical Srves person may be present
to interpret.the recds.-(see orig docms in fi for further info).

9-2~87 am Stat conf: ert signs pltf's ord re atty fees. M.O.

ORD tht ptlfs reqst for atty fees int eh amt of $13,477.50 is hereby granted.
| 9-18-87 | am | ete of glug of docms. pltfs
10-23-87 am [LODGED propd ord

10~30-87 am JORD tht the ert ords tht ptys to meet & oenfer & to submit to the ert for approval
, nlt 11-20-87 a plan for the transprotation of prisoners to crt tht will provide
appropriate conditiosn w/in holding cells & which will minimize the amt of ti those -
inmates are req'd to wait in the holding cells.on the buses. Effective 1-1-88 the
ert ords tht the populatin of the Men's Central-Jail will be limited to. 6800 inmates
under the conditions set forhter in stip lodged w/the crt in 5-9-86, The ert will
reconsider these ords upon not'd motn by defts & agreement by cnslf or pltfs tht
satisfacotyr progress towards solving jail overcrowding is being made by all Gounty
agencies, including the Superior Crt. The Emergencies prov parag 12 of the'erts-
memo decision of 2-15-79 apply to these ords. (ENT 10-30-87) ntc by -cpy to ptys

 

- 10-26-87 am |Notc to take depso upon oral exma; reqst of prod of docms of John Walker on 11-6-8/.

os ' | ple Iasd (1)

10-30-87 -am |Stat conf: Pltfs indicated tht the prior ords by the crt hav not been complied with.
_  |@rt signs the ord this date. M.O. (gb) ‘

 

11-20-84. am| Ledgeing of ert transportation plan. SherrifE— Block
LODGED transp plan :

LODGED prod ord re atty fees
/ LODGED prod ord re crt transportation
42-25-87]: am | ORD tht pltfs reqst for attys fees in the amt of $11,261.25 i's hereby grnated.

 

 

 

 

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12-2-87 am Note of motn to reconsider ord; memo of P/A in suppt thereof. (no date} deft”

Ex parte appl & ORD ‘for. an ord shortéen'gs ti so tht the crt may consider defts mtoy
to vacate this ert's ord fld 10-30-87 regard'g crt transportation procedures an
inmate population limit on an emergency basis on 12-2-87 @1230pn of the USDC Centrial
Dist of New York to be finally decided on 12-15-87 @9:30am in USDC. Central; Dist
of Calif.

ORD vacat'g ord of crt fld 10-30-87. The tpys will meet & confer & submit to the
ert byl-30-88 in interim plan for prevent'g the inmate population at Men's Central
Jail frm increas'g substantially in excess of 6800 inmated for ext periods.

 

12-8-87 am |Note of non opposn. pltfs-
Resp to deftsmotn to vacate. pltfs

1-20-88 am| Receipt for repts transc of hrg had on 10-30-87.
Reptrs transe, of hrg had on 10-30-87.

2-3-88 am|Stip & ORD cont the submission date for approx 3 weeks & to cal a stat conf for
2-23-88 G4:30pm. The ptys wiil fi the interim placn w/the ert prior to the stat

: nf.
2-9-88 at SOGED jnt.pltan as ord by the ert on 12-15-87.
3-3-88|  am| Jnt plan as ord'd by the crt on 12-15-87. defts
#2-23-88 am ORD tht ptls reqst for atty fees in the amt of $10,182.00 is hereby granted.

3~24-88 am |Ntoc to -take depson upon oral exam of David Meyer on 4-1-88 & for prod of docms.
pits Issd (1)

Note to take deposn upon oral exam of Dennis Petty on 4-188 & for prod of docms.
‘|pltfs  Issd (1) ,

Note to take dpeosn upon oral exam; of Diane Vezzani on 41-88 & prod of docms,
pltfs Issd (1)

Note to take despon upon oral exam of Kenneth Green on 4-1-88 & prod of docms. pittfs
Issd (1} :
4-5-88 | am |Status rept. pltfs

5/27/88 | wa Status reprt & req to approve jail mngt plan & ord. D£ts Block
-Jail Managmnt Plan & ORD.
-Status reprt. Fltfs

5/24/88 wal - ORD. that plerfs' req fr Atty fees in amt of $14,402.50 is GRATNED. Pltfs

-13-88}) be | Stat rpt. pltf
8-12-88 de |~pltf ex parte applic fr ords re atty fees and stip.
LODGED ord with CRD

8-15-88 | de -stip and ORD re exam of inmate medical records; satip and ord to review approx 40

inmate medical records before 8-31-88 w/out obtaining formal consent frm

affectd former inmate.(for addtl informatn, pls refer to orig docmnt).
-ORD tht pltf reqst fr atty fees in amt of $12,603.56 is grantd.

10-3-88 | am |-Stat rept. pltfs

10-27_88 | am | - Ex parte appl for ord re

- att

LODGED propd ord y fees

10-31-88 am |- ORD the pltf£s reqst for atty fees in the amt of $13,255 is hereby granted.

ed Hp DS

 

 

 

 

 

 
 

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CIVIL DOCKET CONTINUATION SHEET

 

PLAINTIFF |

 

 

 

 

2-27-89 pb
«2/21/89 la

2/27/89 la

3-16-89 jsb

6-21-88 lpe

7-6-89 | sb
7-14-89 de
9-19-89 sb

9-13-84 sb

10-23-89 sb

10-25-89 sb

11-3-89 sb

11-16-89 sb

| 12-23-85 sb -

12-19-89] sb

i7sAan_| esl

12/20/00 tw
12/20/00 tw

12/20/00 tw
12/21/po t

 

DEFENDANT . . 75-4111-WPG
o , - | DOCKET NO.- :
Dennis Rutherford, et al Sherman Block et al :
PAGE23_.OF PAGES
DATE NR. PROCEEDINGS
2~24~89 pb ORD re pltfs' req for attys fees in the amount of S11,~18.75 is GRNTED.

crt ord

| 12/24/p0 tw.

Ex parte appl for holding cell imspections. pltf
lodged ord. ,

Ex parte appletn for ord re atty fees. ptlfs
LODGED props ord. ptlfs (*fwd to CRD)

Memo of P/A in suppt of mot for addtl ords re holdng cell cndtns. ptlfs
stip * Ord regarding Holding cells

Stip.s ORD nonoe of stmt md during inmate intervies w/Sheriff
staff will be'bused or’ md avial for use in otherligitatn or fr
purpases other than pres ligitgatn except w/written stip or

-- pltf ex parte applic fr ord re atty fees:

_ LODGED PROP ORDER

--ORD tht pltf reqst fr atty fees in amt of $26,728.75 is grantd..
--- Ord re atty fees granted in the sum of $13,995.75

--- plttf applic fr ord re atty fees
LODGED PROP ORDER

-+~ pltf status report

~-— Ord re transportation of prisoners
po deft status report

bane Ord re Temp Adjustment of population Capacites
po Ord re atty fees in the amount of $12,329.28 is hereby granted

---- pltf status report

-- pltf ex parte applic fr ord re atty fees
‘LODGED PROP ORDER ‘ :
|__.. Ord re atty fees in the sum of $8,422.50 granted

     
    

I Status Confer. Cnsl for pltf informs the crt of threats agns e@ atty
working on the reptrd incidents of brutality agnst ce in prisoners. Crt &
ensl hv fur discussions, cnsl are to keép the crt_tiformed. MO. (M.D)

rd mnths July & Aug 2000

      
  
        
    

ip for ord re atty fees....Ld

Joint sstip fo @s...Ldgo Ord, mnths May & June2000
Joint stip for ord es Sept & Oct 2000. Ldgo ord

Ww Ord re atty fees<"Good cause ap ears tere ne an award of atty f
(000.00 for the time périod of Sept & Oct 20600 is

 
 

hereby-Gr .
“ye atty fees. Ord that an award of attys

for time period of May & June is hereby gr.

in amt of $20,090

Note of mot & mot for addtl ords re holdng Cell endtns,retbl 3/20/89 at l0am. ptlfts

ees

 

 

 

 

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. CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFF. - ay DEFENDANT
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me - 145 b Li
Vaskhes te vl Cho Wen bye yAQ Le:
DATE U PROCEEDINGS Page 2g
5/4/90 |p | Ex parte app: for ord re atty fees. pltfs
ORD granting request for attys fees in amt of $14, 581.25.
7/9/90 [Ip Ex parte app re attys fees. pltfs
- LDOGED ORD (FWD TO CRD)
‘ . 2nd quarter status rept. pltfs 7
7/13/90| ip - ORD.thea pltfs request for attys fees in the amt of $11,446.79 is granted.
ce oo (ENT 7/16/90)
Lo | 7/16/90) Ip Memo re 7/23/90 statue conf. pltfs
7/20/90} Ip Replt to defts response to pltfs status repts. pltfs
ACLU reply to responst to memo. pltfs .
Response to memo. pltfs’ .
Response to pltfs status repts. defts .
7/23/90 1p Status conf crt indicates that a mont.re interventions can be fld- M.O. cfr
, n/a - . .
7/24/96 Ip Response to reply. pltfs
8/16/90 lp -- Wote of. metn & motn to intervene retnbi 9/10/90 @ 10 am. Applicants in
‘ ‘ intervention © :
LDOGED ORD {FWD TO CRD)
P&A supptng intervention, decls exhibits. applicants in intervention
Appindix of post trial ords. applicatas in intervention
8/27/90 lp --. Memo of P&& in opp to motn to intervene. pltfs
8/30/90 ‘Ip -- Reply to ACLU opp to motn to intervene. applicants in intervention
9/6/90 lp| --Ex parte app for permission to file suppl decls inopp- to motn to intervene.
pltfs
: . LODGED GRD &. SUPPL DECL (FWD. TO CRD)
9/10/90 [Lp -- Morn to intervene is denied, however, Mr. Hagar can represent any of his
, . , former clients in any contempt proceedign purs to the erts former ord # 11.
M.O. c/r M. Dickmann
*9/7/901 1p -- Suppl decls of Paul L. Hoffman. pltfs
03-25-9£ x/s| Ex-Prte Applic for atty fees,
ORDER pltf applic for awrd atty fees $19,500. GRANTED.
05-29-91 r/s|ORDER applic pltf award atty fees GRANTED S19, ooo.
4105-28-91 r/s|Ex-Prte Applic re: atty fees.,, plitf
-)8-15~91]] r/s| Notc of change of address.,, pltf
10-17-91 xr/s ORDER:: Irgelevant matrl shall be redacted by Jnt cncurrence “of
. ‘ensl;
20-28-91 xr/s| Bx-Prte Applic re atty fees. ,, pltf LODGED Ord to CRD.
10-30-91 r/s|ORDER pltf applic for award atty fees $19,500 GRANTED.,, plt£.
- 95-28-92 r/s Ex Prte applic re atty fees.,, plf LODGED Ord to CRD.
G8-26-92! r/s ORDER re atty fees.,, plf
08-27-92) r/s -| Unt stats _rpt & propsd OER)

 

 

 

 
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(Rev. 1/75}
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT ~ [ev 75-4110 WEG
NUP ORTA NO.
.DENNIS RUTHERPORD | SHERMAN BLOCK
. PAGE py Pas AF F_.__. PAGES
DATE NR. PROCEEDINGS
06-25-92 | r/s ORD plf applic for award atty fees $19,500. GR.,, pli
07-24-92 ir/s .Exprte applic & ord re atty Fees.,, pli LODGED Ord.
09-11-92 r/s Exprte applic & ord re atty faes.,, pl£ LODGED Ord. .
10-01-92 i r/s ORDER plfs applic for atty fees $19,975 gr.
11-04-92| r/s | EBx-Prte Applic re atty.fees.,,, pl£ LODGED Ord to CRD. .
11-09-92 c/s | ORD plfs applic for award atty fees $168,500. hereby gr., [Ent 1ll-LO-92] cpy plf.
4/15/93 yrt Ex parte applic re atty fees. plts
LODGED ord .
4/27/93 yrt ORD that plfs applic for an award of attys fees in the amount of $19,500 is
granted - ot
7/6/93 yrt| Ex parte applic re atty fees. pifs ‘
LODGED ord we
7/21/93 yrt ORD that plfs applic for an award of attys fees in the amount of $19,000is. granted.
8/12/93 yrt . Ex parte applic re atty fees. plfs : .
ORD. that plis applic for an award of attys fees in the amount of $17,500 is. granted.
9/20/93 yrt Ex parte applic re atty fees. plf . .
9/24/93 yrt ‘ORD that plfs applic for an award fo attys fees in the amount of $19,500 is granted.
11/15/93) yrt Ex parte applic re atty fees. plfs
11/29/93} yrt Suppl declar of Paul L. Hoffman in suppt of applic for fees & costs. plfs
12/6/93 yrt ORD that plfs applic .for an award of attys fee in the amount of $17, 500 is, granted
2/28/94 yrt Ex parte applic re atty fees. plifs
LODGED ORDER
3/25/94 yrt | Ex parte applic for ord re attys fees. plfs
LODGED order
4/26/94 yrt Stip for order re atty fees. . , wee
LODGED ORD :
5/11/94 yet! ORD pur to stip that an award of attys fees in the amount of $19,000 is granted “
pltt for services’ rendered fro the perior of 11/1/93 to 12/31/93.
7/13/94 yrt dnt stip for ord re atty fees.
: LDOGED prop order
7/18/94 yrt ORD pur to stip that an award of attys fees in the amount of $18,475.00 is granted
, to pltf for services rendered for the period of 1/1/94 to 2/28/94.
8/10/94 yrt Stip for order re atty fees.
8/15/94 yre ORD that an award of attys fees in the amount of $19,000 is granted,
5/12/95 |yrt M.O. that the case should have not been reopened on 3/21/92. (ENT 5/15/95) MD TSP ph
10/18/94| yrt |dnt stip for order re atty fees.
LODGED ord
11/1/94 yrt |ORD that an award of attys fees in the amount of $19,000.00 for the time period of
: 5/2/94 through 6/30/94 is granted.
12/5/94 yrt |Jnt stip for order re atty fees.
LODGED ord ,
12/7/95 yrt. [ORD that an award of attys fees in the amount of $19,750.00 for the time period of
July 1994 through Setp 1994 is granted.
2/3/95 yrt |Jnt stip for order re atty fees.
_ |LODGED ord
2/15/95 yrt |ORD that an award of atty's fees in the amount of $19,500 for.the time period of
. Oct 1994 through Dec 1994 is granted.
5/18/95 yrt unt stip for order re atty fees, pltfs a
ODGED or “ /
See, peat [pee R_ S*|

 

 
 

 

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{Rev 1/75) .
. CIVIL DOCKET CONTINUATION SHEET
PLAUNTIFF DEFENDANT
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Dennis Rutherford , : Peter J. Pitchess po .
: eee PAGES
-DATE NR, PROCEEDINGS
5/22/95}. yrt ORD that an award of attys fees in the amount of $18,500.00 for the time period
of Jan-Feb 1995 is granted. ‘
6/13/95 | ai | INT STIP FOR ORD RE ATTORNEY FEES. pltfs
. 7 , LODGED prop ord. Fwd to CRD : /
6/28/95 al . ORD tht an award of atty fees in the amt of $20,000.00 for the time period of
, March thru April, 1995 is granted.
9/12/95 al Jnt stip for ord re attorney fees. pltis
LOPGED prop ord. Fwd to CRD
9/13/95 al ORD tht an award of atty fees in the amt of $20, goo, 00 for the time period of
, : ' "| May thru June, 1998 is granted. .
J10/23/95| al .| Int stip for order re attorney fees. pltis
- LODGED prop ord. Fwd to CRD
j10/26/95| al | ORD. tht an award of atty's fees in the amt of $19,000.00 for the time period of
July thru August, 1995 is granted. :
-}12/21/95 al ORD tht an award of-atty's fees in the amt of $17,000.00 for the time period of
my . Sept. thru Oct, 1995 is granted. ,
4/9/96 al Jit stip for-6rd fe atty feas. . Pltfs
LODGED {prop) Ord. (Fwd to CRD}
14/16/96 al. ORD tht an award of atty's fees in the amt of $17,500.00 for the time period of
Nov, Dec 1995 thru Jan, 1996 is granted. :
6/5/96 al Jnt stip for ord re atty fees.
LODGED prop Ord. Fwd to CRD
6/7/96 ‘al ORD tht an award of atty! s fees in the fmt of $20, 000. 00 for the time period of
Feb & March is hereby granted. ,
10/15/96 al Joint’ stip for Ord re atty fees in the amt of $20, 000. oo. pltfs
: LODGED . ‘PEOp Ord. Fwd to CRD
ORD tht an award of $20,000.00 for the ti period of April ‘1996 & May 1996 is
granted by Judge WMB.
11/26/96 al Joint stip for ord re atty fees. . pitfs
' | LODGED prop Ord. Fwd to CRD
Ntc of doc. discrep & ORD tht the doc: addt'i exh in re mot for contmp for vio~
lating crt ords, red on 11/07/96 is to be fld & processed, (WMB)
*UL/7/96] al Addtii exh in re: Mot.for contmpt for violating ert ords, ptnra Jason Higley,
Robert Lawrence . :
12/3/96 al ORD tht an award of atty's fees in the amt of $20,000.00 for the ti period of
: June, July & August, 1996 is hereby granted by WmB.
VPISfOA
1yf15/96 al’ ;Joint stip for ord re atty fees. pltfs
tf jn LODGED prop Ord. Fwd to CRD.
fof ey
i 7/96 al ‘jORD-tht an award of atty's fees in the amt of $20,000.00 for the ti period. of
Sept. thru Nov, 1996 is hereby granted. (WMB }
(aver)

 

 

 

 

 
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Oc ILIA
(Rev. 1/75}

CIVIL DOCKET CONTINUATION SHEET

 

PLAINTIFF

OEFENDANT

 

 

bens > Rettseloec oo ae

 

 

 

 

 

DATE PROCEEDINGS

2/20/97 al Joint stip for ord re atty fees in the amt of $17,000.00. pitts /dfts
LODGED prop Ord. Fwd to CRD.

2/24/97 al ORD tht an award. of atty's fees in the amt of $17,000.00 for the time period

: of Dec, 1996 thru Jan, 1997 is hereby granted. (WMB)

5/20/97 al ORD tht an award of atty's fees in. the amt of $20,000.00 for the time period of
2/1/97 thru 3/31/97 is hereby granted. (WMB)

6/26/97 al dnt stip for ord re atty fees. pltfs

. LODGED prop Ord. Fwd to CRD.
19/10/97 al Jnt stip for ord re atty fees. pltfs/dfts
LODGED prop Ord. Fwd to CRD. :

9/11/97 al ORD tht an award of atty's fees in the amt of $20,000.00 for the time period of
June 1997 thru July 1997 is hereby granted. (WMB)

21/5/97 al Joint stip for ord re atty feas in the amt of $16,000.00. pitts

LODGED prop Ord. Fwd to CRD. ,

1/26/98 } al Joint stip for ord re atty fees. pltfs /dits \

LODGED prop Ord. Fwd to CRD.

2/3/98 al ORD by Judge Byrne tht an award of atty's fees in the amt of $20,000.00 for the
time period of Oct 1997 thru Dec 1997 is hereby GRANTED - .

4/21/98 al Joint stip for ord re atty fees. pltfs /dfts
LODGED prop Ord. Fwd to CRD.

4/22/98 al ORD by Judge W. mM, Byrne, Jr. tht an award of atty' s fees in the amt of

: $20,000.00 for the ta period of Jan; 1997 thru Feb, 1998 is hereby GR.

2/18/98 al ant stip for ord re atty fees. pitfs /dfts
LODGED prop Ord. ¥wd to CRD. .

9/29/38 al ORD by Judge T. J. Hatter for Judge Byrne tht an award of atty's fees in the
amt of $20,000.00 for the ti period of March, 1998 thru. April, 1998 is hereby
granted.

LO/21/98 al Ont stip for ord re atty fees. pltfs /Afts

, LODGED prop Ord. Fwd to CRD. .

20/23/98! al |ORD by Chief Judge Terry J. Hatter, Jr tht an award of atty's fees im the amt of
$20,000.00 for the ti period of May thru July, 1998 is hereby granted.

$2/10/98 | al Joint stip for ord re atty fees. pltfs/dfts
LODGED prop Ord. Fwd to CRD.

12/13/98) al ORD by Chief Judge Terry J. Hatter tht an award of atty's fees in the amt of
.$20,000.00 for the ti period of Aug, Sept, & Oct, 1998 is hereby granted.

2/4/99 al Jnt stip for ord re qtty fees. pltfs /dfts
LODGED prep Ord. Fwd to CRD.

2/9/99 al ORD by Judge William M. Byrne, Jr. tht an award of atty'’s fees in the amt of

$20,000.00 for the ti period of Nov & Dec, 1998 is hereby granted.
(Cdee Awe Fo.

 

 

 

 
fase. 2:18: -CV- -04111- DBP. Document 252-1. Filed 11/22/10 Page 35 of 39 Page ID#:3260_.

 

De 1/14
(Rev. 1/75)

 

CIVIL DOCKET CONTINUATION SHEET

 

 

 

 

 

 

 

 

PLAINTIFF DEFENDANT cv
DOCKET No, 75-41. LLWME
DENNIS RUTHERFORD, ET AL SHERMAN BLOCK, ET AL . PAG 2 (a PAGES
DATE NRL PROCEEDINGS
6/18/99 |. - al --- Int stip for ord re atty fees. pités
‘ LODGED prop Ord: Fwd to CRD.
6/21/99 al --- ORD by Judge William M, Byrne, Jr. tht as award of atty fees in-the amt ‘of
: $20,000.00 for the time period of March & April, 1999 is hereby granted.
8/30/99 al --- ont stip for ord re atty fees, pitfs
LONGED prop Ord. Fwd to CRD. ,
8/31/99 al --~ ORD by Judge William M. Byrne, Jr. tht an award of atty's fees in the amt of
‘ $20,000.00 for the ti period ‘of May & June 1999 is _hereby granted.
‘ Stip.&
12/2/99 al [ers ORD: by Judge William M. Byrne, Jr. tht an award of atty's fees in the amt
, of $20,000.00 be granted for all efforts during the months of September &"
. October, 1999
. 4 {8790 esl Status Confer. Cnsl for plf informs the -Crt, of, threats agnst the atty
: working’ on the’ ‘reptrd incidents ‘of brutality agnst certain prisoners. Crt
and cnsl have: fur ‘discussions, endl Ate to keep the Crt informed MO
7-19-00; mchi |. Joint Stip for ORDER re Atty Fees (LODGED ORDER)
7-18-90) mech Fld Join::.Sttip for: Order R@ Atty Fees {Lodged Ord)
7-19-00 mch ‘Fld Jaint Stip for Order Re Atty Fees (Lodged Ord)
7{24\00} mch,; Fld Order Re Atty Fees
7-24-00 | mch ‘Fid Order Re Atty Fees
7-24-00 ; mchy Fld Order Re Atty Fees
2-20-00 | - tw Joint stip for ord re atty fees....Ldge ord mnths guly and ‘Aug 2000
2-20-00 tw . Joirttstip for ord re atty fees....idgo Ord mnths May and June 2000
iL 2-20-00 tw Joint stip for or re atty fees...Lodge Ord mnths Sept and Oct 2000
IL2—21-00 tw Ord re atty fees.Good cause appearing therefor, an award of atty fees in
amt of $20,000.00 for the time period of Sept and Oct 2000 is hereby gr.
2-21-00 tw Ord re atty fees. Ord that an award of attys fees in amt of $20,000
for time period of May and June is hereby gr.
2-21-00 tw Ord re atty fees. Good cause therefore, an award of atty fees in the amt
. of $20,000 for the time period of July and Aug 2000 is Granted
3/23[01} ic ‘Joint stip for atty fees for Nov and Dec 2000 fr ACLU; decl of Mark .
“Rosenbaum Lodged ord
3|26[01 | Ic ORD (TJH) an award of atty fees in amount of $12,525.00 fr period of
Nov and Dec 2000 is granted
6|20|01 | .ye Stip and Ord tht the award of attys fees in the amt of $20, 000.00 for all
, efforts during the months of Mar and April is hereby granted (TJH)
8|02[01 ye Stip and Ord (fJH) that an, award of attys fees in the amount of $20, 000. an
for all efforts during the months of May and Junw 2001 be granted
FOR ALL SUBSEQUENT DOCKETING
REFER TO ICMS ELECTRONIC DOCKET

 

 

 

 

 
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EXHIBIT 3
 

United States
District Court

Central District of California

 

 

 

 

OFFICE OF THE CLERK

 

Change Initials of Judge WILLIAM P. GRAY
Civil Case Number CV75-4111 WPG
Case Name . DENNIS RUTHERFORD

VS
SHERMAN BLOCK, et al.,
. 3 1982

- WAR
By order of Court filed Mi BES

 

 

the above~entitled case has

 

been assigned through the wheel to Judge RICHARD A. GADBOIS, JR. _
for all further proceedings. Pursuant to this transfer order, any

ar discovery matters that are or may be referred to a Magistrate Judge are

  

hereby transferred to Magistrate Judge N/A

Substitute the Judge/Magistrate Judge’s initials as indicated
above, in place of those of the prior Judge/Magistrate Judge on all

decuments filed hereafter, so that the case number will be shown as

CV75-4111 RG

*.

 

To expedite matters, it would be appreciated if you would use

the complete case number in all correspondence.
CLERK, U.S. DIST COURT

ESTRELLA SOLTE
By

 

Deputy Clerk

Change of Initials (judge)

ENTERED ON ICMS
U.S. COURTHOUSE, RM. G-8 © LOS ANGELES, CALIFORNIA 90012
_ Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page.28.0f39 Page ID #:3263

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UNITED STATES DISTRICT COURTBY GIT C2 CALIFORNIA
CENTRAL DISTRICT OF CALIFORN i DEPUTY

 

In the Matter of the
Reassignment of
Senior Judge Gray’s Cases ORDER OF THE

CHIEF JUDGE

 

If IS ORDERED that the following group of cases is to be
randomly assigned through the Civil Assignment Wheel as to the
lowest numbered case; the remainder of the cases contained

‘within the group are to be assigned to the judge assigned the
lowest number case pursuant to General Order 224:

Group I: OASIS PETROLEUM CASES

CV88-5145 Gill -v- Pacific Assoc., et al
CV88-5146 Gill -v- Oasis Transportation, et al
CV88-5148 Gill -v- Elk International, et al
Cv88-5149 Gill -v- Tariq R. Kadri, et al
CV88-5151 Gill -v~- Summit Herritage Corp., et al
CV88-5152 Gill -v- ARAMCO Properties Inc., et al
CV88-5155 Gill -v- Elk International Corp., et al
CV88-5158 Gill -v~ USA Petroleum Corp., et al |
CV88-5161 Gill -v- Community Bank, et al
CV88-5162 Gill -v~ DK-Benzin A/S, et al
CV88-5163 Gill -v- Santa Monica Bank, et al
CV88-5164 Gill -v- OK Helicopter Leasing, Inc.
CV88-5165 Gill -v- Union Bank, et al

CV88-5166 Gill -v- Elk International, et al
CV88-5167 Gill -v- Saudi Petrolem, et al
CV88-5169 Gill -v- LA Steamship Co., et al
CV88~5170 Gill -v- Trial International, et al
CV88-5171 John P. Vizard -v- Essam Khashoggi, eta
CV88-5172- Gill -v- George E. Conrad
CV89-1533 Gill -v- Finn Moller, et al

CV89-6683 Gill -v~ Summit Herritage

CV89-6684 Gill -v~ Moller & Sons, Inc.

CV89-6685 Gill -v- Finn Moller
Case 2:75-cv-04111-DDP Document 252-1 Filed 11/22/10 Page 39 of 39 Page ID #:3264

Order of the Chief Judge
RE: Reassignment of Senior Judge Gray’s Cases
page two

Whereas, periodically cases which have been previously closed
require judicial determination;

IT IS FURTHER ORDERED that the Clerk is Gibectes to reassign
all closed cases previously assigned t6 Senior Judge Gray, on
an as needed and random basis, throvgh «he civil assignment
wheel,

paren: MAK 3 1992

    

Chief, United States District Judge

NOTE: CASE REASSIGN. TO JUDGE

 

FOR ALL FURTHER PROCEEDINGS.

MD JS-5
